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11   RON BENDER (SBN 143364)
     MONICA Y. KIM (SBN 180139)
22   KRIKOR J. MESHEFEJIAN (SBN 255030)
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66   Attorneys for Chapter 11 Debtors
77   and Debtors in Possession

88                               UNITED STATES BANKRUPTCY COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
99                                 SAN FERNANDO VALLEY DIVISION

10
10   In re:                                              Lead Case No.: 1:17-bk-12408-MB
                                                         Jointly administered with:
11
11   ICPW LIQUIDATION CORPORATION, a                     1:17-bk-12409-MB
     California corporation1,
12
12                                                       Chapter 11 Cases
13
13            Debtor and Debtor in Possession.
     ____________________________________
14
14   In re:                                              FIRST INTERIM APPLICATION OF
                                                         STUBBS, ALDERTON & MARKILES LLP
15
15   ICPW LIQUIDATION CORPORATION, a                     FOR APPROVAL OF FEES AND
     Nevada corporation2,                                REIMBURSEMENT    OF   EXPENSES;
16
16                                                       DECLARATION OF SCOTT ALDERTON,
                                                         ESQ.
17
17            Debtor and Debtor in Possession.
     ____________________________________
18
18                                                       DATE:     December 12, 2017
          Affects both Debtors                           TIME:     1:30 p.m.
19
19
                                                         PLACE:    Courtroom “303”
20     Affects Ironclad Performance Wear                           21041 Burbank Blvd.
20
     Corporation, a California corporation only                    Woodland Hills, CA
21
21
       Affects Ironclad Performance Wear
22
22   Corporation, a Nevada corporation only
23
23
24
24
25
25
26
26
     1
27
27       Formerly known as Ironclad Performance Wear Corporation, a California corporation.
     2
         Formerly known as Ironclad Performance Wear Corporation, a Nevada corporation.
28
28

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1            STUBBS, ALDERTON & MARKILES LLP (“SAM”), special counsel to ICPW

2     Liquidation Corporation, a California corporation, formerly known as Ironclad Performance Wear

3     Corporation, a California corporation, and ICPW Liquidation Corporation, a Nevada corporation,

4     formerly known as Ironclad Performance Wear Corporation, a Nevada corporation, the debtors and

5     debtors-in-possession in the above-captioned Chapter 11 bankruptcy cases (collectively, the

6     “Debtors”), hereby submits its First Interim Application for Approval of Fees and Reimbursement

7     of Expenses (the “Application”) for services rendered and expenses incurred for the period of

8     September 8, 2017 (the date of the Debtors’ chapter 11 bankruptcy filings) through November 20,

9     2017 (the “Covered Period”). Any opposition or responsive paper must be filed and served at least
10    fourteen (14) days prior to the hearing on this Application in the form required by Local Bankruptcy

11    Rule 9013-1(f).

12                                                     I.

13                                   INTRODUCTORY STATEMENT

14           In order to efficiently manage these chapter 11 cases, the Debtors filed and obtained

15    orders of the Court jointly administering these chapter 11 cases. Consistent with the terms of

16    SAM’s employment application which was approved by the Court, SAM has billed all of its time

17    in its representation of the Debtors to one collective billing number. These bankruptcy cases

18    have for all practical purposes been operated on a consolidated basis. There is one management

19    team and one board of directors for both Debtors. There is one Creditors Committee and one

20    Equity Committee. The impending sale of the Debtors’ assets does not allocate the purchase

21    price among the two estates (recognizing of course that all or the vast majority of the assets

22    being sold are owned by the California operating business). However, all unsecured creditors of

23    both Debtors will be paid in full out of the sale proceeds.

24                                                     II.

25                                                SUMMARY

26
       Name of applicant                                    SAM
27
28     Name of client                                       ICPW Liquidation Corporation, a California


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1                                                        corporation, formerly known as Ironclad
                                                         Performance Wear Corporation, a California
2                                                        corporation; and ICPW Liquidation
3                                                        Corporation, a Nevada corporation, formerly
                                                         known as Ironclad Performance Wear
4                                                        Corporation, a Nevada corporation (the
                                                         “Debtors”)
5      Time period covered by this application           Start: September 8, 2017
                                                         End: November 20, 2017
6

7      Total compensation sought this period             $112,763.00

8      Total expenses sought this period                 $6,484.77
9      Petition date                                     The Debtors commenced their chapter 11
10                                                       bankruptcy cases with the filing of voluntary
                                                         petitions under chapter 11 of the Bankruptcy
11                                                       Code on September 8, 2017
       Retention date                                    September 8, 2017
12
       Date of entry of order approving employment  November 8, 2017 (as docket number 189)
13
                                                    with employment effective as of September 8,
14                                                  2017
       Total compensation approved by interim order N/A – First fee application
15     to date
16     Total expenses approved by interim order to       N/A – First fee application
17     date

18     Total allowed compensation paid to date           N/A – First fee application
       Total allowed expenses paid to date               N/A – First fee application
19
       Blended rate in this application for all          $568.84
20
       attorneys
21
       Blended rate in this application for all          $516.55
22     timekeepers
23     Compensation sought in this application           N/A
24     already paid pursuant to a monthly
       compensation order but not yet allowed
25     Expenses sought in this application already       N/A
       paid pursuant to a monthly compensation
26     order but not yet allowed
       Number of professionals included in this          7 attorneys and 3 paralegals
27     application
28

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1                                                     III.

2                          FEES AND EXPENSES INCURRED AND NOTICE

3     A.     REQUEST         FOR      ALLOWANCE               AND   PAYMENT      OF     FEES     AND

4            REIMBURSEMENT OF EXPENSES

5            During the Covered Period, SAM incurred fees in the amount of $112,763.00 and

6     expenses in the amount of $6,484.77 for total fees and expenses in the amount of $119,247.77.

7     No portion of this amount has been paid by the Debtors.           Accordingly, by way of this

8     Application, SAM is seeking the Court’s approval and payment of all of the foregoing fees and

9     expenses.
10    B.     PROPER NOTICE

11           SAM understands that the Debtors’ bankruptcy counsel has served notice of this

12    Application and the amount of fees and expenses sought herein upon the Debtors, all creditors, 3

13    the Official Committee of Unsecured Creditors and its counsel, the Official Committee of Equity

14    Holders and its counsel, the Office of the United States Trustee, and all parties who have

15    requested special notice.

16                                                    IV.

17                   STATEMENT OF FACTS AND RELEVANT INFORMATION

18    A.     Background Information.

19           SAM incorporates by reference the background information set forth in the first interim

20    fee application of LNBYB.

21    B.     Retention and Date of the Entry of the Order Approving the Debtors’ Employment

22           of SAM.

23           The Debtors’ retained SAM to serve as their special corporate and securities, special

24    trademark, and special litigation, counsel, effective as of the Petition Date, and subject to the

25    terms of SAM’s stipulation with the Official Committee of Equity Holders, to render, among

26    others, the following types of professional services:

27
      3
       All creditors means all creditors who are scheduled by the Debtors as being owed money and/or
28    who have filed a timely proof of claim.

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1                    a.         advising and representing the Debtors in connection with any litigation

2     matters which may arise or which involve the Debtors, except as otherwise set forth in SAM’s

3     employment order;

4                    b.         advising the Debtors with regard to, and representing the Debtors in the

5     areas of, corporate law, corporate governance, corporate matters, and securities matters;

6                    c.         advising and representing the Debtors in connection with Securities and

7     Exchange Commission regulatory compliance, including, but not limited to the following:

8                           i.         Exchange Act Reports. SAM will review and comment on the

9                               Debtors’ Forms 10-K and Forms 10-Q, based on drafts completed by

10                              management, and, in consultation with management, will prepare Forms 8-

11                              K, Forms 3, 4 and 5, and Schedules 13D and 13G for approved individuals

12                              and investors.   SAM will assist the Debtors in ensuring that all such

13                              Exchange Act reports are in compliance with applicable Securities and

14                              Exchange Commission rules.

15                         ii.         Annual Proxy Statements. SAM will prepare a Proxy Statement for

16                              the Debtors’ annual meeting of shareholders with respect to proposals for

17                              the election of directors, the adoption of compensation plans and any

18                              amendments thereto, and charter document amendments.            Shareholder

19                              proposals and special matters, such as mergers and acquisitions, and new

20                              compensation plans, will be billed separately on an hourly basis.

21                        iii.         Routine SEC Communications. SAM will be responsible for all

22                              routine communications with the Securities and Exchange Commission

23                              with respect to the Debtors’ Exchange Act filings.

24                        iv.          Securities Due Diligence. SAM will be principally responsible for

25                              conducting due diligence on behalf of the Debtors’ Board of Directors and

26                              in collecting the necessary documents and information for inclusion in the

27                              Debtors’ Exchange Act filings.
28

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1                           v.           Year End Obligations. SAM will monitor and assist the Debtors in

2                                meeting the Debtors’ year-end disclosure and annual shareholder meeting

3                                obligations, including preparation and continued monitoring of a Year-End

4                                Time and Responsibility Schedule, and having overall responsibility for the

5                                entire timetable of the year-end process.

6                          vi.           D&O Questionnaires. SAM will prepare and distribute Directors’

7                                 and Officers’ Questionnaires to assist the Debtors in complying with the

8                                 Debtors’ disclosure obligations.

9                         vii.           Rule 144 Opinions. At the Debtors’ instruction, SAM will prepare

10                                Rule 144 opinion letters to the Debtors’ transfer agent in connection with

11                                Rule 144 sales.

12                        viii.          Press Release and Reg. FD. SAM will advise the Debtors with

13                               respect to press releases, all of which SAM will review, and Regulation FD

14                               compliance.

15                         ix.           Board and Shareholder Meetings. SAM will attend Shareholder

16                               Meetings and quarterly Board meetings, and will prepare Board minutes

17                               and written consents.

18                          x.           Coordination with Auditors.         SAM will coordinate with the

19                               Debtors’ accountants as to the timing of the preparation of the Debtors’

20                               financial statements and related financial disclosure and will review the

21                               accountants’ management representation letters and other correspondence

22                               with the company;

23                   d.          legal services in connection with commercial and contractual and similar

24    transactional matters and assisting the Debtors in connection with their expected sale efforts;

25                   e.          advising the Debtors with regard to, and representing the Debtors in

26    connection with, registering trademarks, and undertaking trademark enforcement measures, both

27    domestically and internationally, and
28

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1                    f.     performing any other services which may be appropriate in SAM’s

2     representation of the Debtors relating to corporate and securities law, trademark law and general

3     business litigation during their bankruptcy cases.

4            The Court approved the Debtors’ employment of SAM pursuant to the terms of the order

5     entered on November 8, 2017, as docket number 189.

6     C.     Fees and Expenses Previously Requested.

7            SAM has not filed any previous applications seeking the approval and/or payment of fees

8     and expenses, and SAM has not been paid any post-petition money by the Debtors.

9     D.     Brief Narrative Statement of Services Rendered, Time Expended, and Fee Charged.
10           In connection with the services SAM provided to the Debtors post-petition, SAM placed

11    its time entries for fees into one of four categories. These categories consist of (1) corporate and

12    securities matters; (2) intellectual property matters; (3) litigation matters; and (4) miscellaneous

13    bankruptcy matters. 4 Inevitably, certain time entries do not fit neatly into any one category while

14    other time entries cross over into more than one category. SAM did its best to place time entries

15    into categories which accurately reflect the work performed. However, it is inevitable that there

16    will be some time entries that have been placed into the incorrect category or where various time

17    entries dealing with the same subject matter have been placed into multiple categories.

18    References below made to the “Covered Period” shall mean the period of September 8, 2017

19    through November 20, 2017.

20           1.      Corporate and Securities Matters

21           During the covered period, SAM billed 147.2 hours and incurred $83,259.00 of fees in

22    this category. Among other tasks, SAM assisted the Debtors in connection with all of the

23    Debtors’ Securities and Exchange Commission (“SEC”) compliance obligations, including

24    researching and analyzing the Debtors’ SEC compliance obligations, particularly in connection

25    with the Debtors’ bankruptcy filings, preparing and filing disclosures with the SEC, advising the

26
      4
27      SAM does not typically categorize its fees to this extent, but has done so in these cases in order
      to provide further organization and clarity to the services provided by SAM, and in order to ease
28    the Court’s and other parties’ review of this Application.

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1     Debtors in connection with the Debtors’ SEC obligations, discussing SEC matters and requests

2     with the Debtors and other counsel, reviewing and responding to correspondence regarding public

3     reporting requirements, and preparing press releases in conformance with the Debtors’ disclosures

4     to the SEC.

5            Additionally, SAM handled various corporate governance matters, including preparing

6     consent forms for the Debtors’ board of directors in connection with actions taken by the Debtors,

7     attending Board meetings and draft minutes of Board meetings, preparing corporate agreements

8     with employees, handling obtaining shareholder lists and related information, and communicating

9     with the Debtors’ management regarding these matters.

10           Finally, SAM served an instrumental role in connection with the Debtors’ sale and sale

11    closing efforts, including in connection with assisting the Debtors with preparing non-disclosure

12    agreements and coordinating the execution of such agreements, reviewing the Debtors’ sale

13    pleadings and the sale order, serving as a lead party in connection with preparing many of the

14    documents necessary to close a sale of the Debtors’ assets, including patent and trademark

15    assignment forms, a bill of sale, and various other closing documents, and reviewing and

16    responding to correspondence regarding the Debtors’ sale efforts and sale filings. SAM worked

17    closely with the purchaser’s counsel in connection with successfully closing a sale in an

18    expeditious manner, handled sale emergencies as they arose, such as in connection with

19    negotiating and preparing two amendments to the asset purchase agreement with the purchaser of

20    the Debtors’ assets, and handling changes to the Debtors’ corporate name with the Secretaries of

21    the States of California and Nevada. SAM also assisted the Debtors’ management in connection

22    with negotiations leading up to the sale of assets, such as with Grainger.

23           2.      Intellectual Property Matters

24           During the Covered Period, SAM billed 27.8 hours and incurred $6,950.00 of fees in this

25    category. Among other tasks, SAM handled the preservation and protection of the Debtors’

26    intellectual property, including by preparing a detailed trademark report for the Debtors’

27    worldwide trademark, preparing revisions to intellectual property registrations, filing new
28    trademark applications as required, tracking the status of the Debtors’ trademarks and addressing

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1     issues in connection with the Debtors’ trademarks as such issues arose, handling the prosecution

2     of the Debtors’ intellectual property rights as necessary, and communicating with the Debtors’

3     management in connection with intellectual property matters.

4            3.      Litigation

5            During the Covered Period, SAM billed 23.5 hours and incurred $10,371.50 of fees in this

6     category. Among other tasks, SAM assisted the Debtors in connection with SEC requests for

7     information, and the production of documents to the SEC, communicated with the Debtors and

8     other counsel regarding SEC investigative matters, reviewed and analyzed potential claims

9     against former accountants, and reviewed and analyzed the Debtors’ insurance policies and,
10    preliminarily, potential director and officer claims. SAM also researched legal issues related to
11    potential claims.
12           4.      Miscellaneous Bankruptcy Matters

13           During the Covered Period, SAM billed 19.8 hours and incurred $12,182.50 of fees in this

14    category.   Among other tasks, SAM assisted the Debtors with their bankruptcy filings by

15    providing information necessary for the Debtors to complete disclosures and filings in the

16    Debtors’ bankruptcy cases, SAM expended time handling the Debtors’ application to employ

17    SAM and resolving the Equity Committee’s limited objection to the employment application, and

18    SAM reviewed relevant bankruptcy pleadings at the request of the Debtors and the Debtors’

19    bankruptcy counsel in order to ensure that such filings accurately portrayed the Debtors’

20    corporate status and operations.    SAM served as an invaluable resource to the Debtors’

21    professionals given SAM’s institutional knowledge of the Debtors and the Debtors’ history.

22    SAM’s involvement allowed for the efficient and effective transmission of critical information to

23    the Debtors’ management and other professionals.

24    E.     Detailed Listing of All Time Spent By the Professional on the Matter for Which

25           Compensation is Sought.

26           Attached as Exhibit “1” to the annexed Declaration of Scott Alderton is a detailed listing

27    of all time that SAM spent during the Covered Period for which SAM seeks compensation,
28    including the date SAM rendered the service, a description of the service, the amount of time

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1     spent and a designation of the person who rendered the service for the period of time for the

2     Covered Period. Also included in Exhibit “1” is a summary of the hours and fees charged by each

3     of SAM’s attorneys that performed services for the Debtors. Also included in Exhibit “1” is a

4     breakdown of time entries into the activity codes specifically utilized by SAM in these cases.

5     There are two separate listings of all time that SAM spent during the Covered Period; the first

6     listing covers the period of September 8, 2017 through October 31, 2017, and the second listing

7     covers the period of November 1, 2017 through November 20, 2017.

8     F.     Detailed Listing of Expenses By Category.

9            Attached hereto as Exhibit “2” is a listing and itemization of all expenses that SAM
10    advanced on behalf of the Debtors during these cases. These include service fees incurred in
11    connection with preserving intellectual property. All expenses that SAM advanced on behalf of
12    the Debtors were necessarily incurred and are properly charged as administrative expenses of the
13    Debtors’ chapter 11 estates.
14    G.     Description of Professional Education and Experience.

15           SAM is comprised of attorneys who specialize in the area of corporate and securities law,

16    trademark law and general business litigation. A copy of SAM’s firm resume is attached as

17    Exhibit “3” to this Application. SAM billed its time for its representation of the Debtors’ on an

18    hourly basis in accordance with SAM’s “Emerging Growth” hourly billing rates (which are

19    approximately $50 per hour less than SAM’s standard hourly billing rates). A listing of SAM’s

20    current, and applicable, hourly billing rates is attached as Exhibit “4” to this Application.

21    H.     Source and Amount of Cash Available to Pay SAM’s Allowed Fees and Expenses.

22           SAM incorporates the information set forth in the fee application filed by the Debtors’

23    bankruptcy counsel, in connection with this topic.

24                                                      V.

25                                          STANDARD OF LAW

26           Prior to the enactment of the Bankruptcy Code, the rule with respect to compensation

27    requests in the Ninth Circuit was that the Bankruptcy Court should award attorneys’ fees in
28    accordance with a “strict rule of economy test.” In re THC Financial Corp., 659 F.2d 951, 955

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1     n.2 (9th Cir.1981), cert. denied, 456 U.S. 977 (1982). This is no longer the law. The legislative

2     history to section 330 of the Bankruptcy Code indicates that Congress was primarily concerned

3     with protecting the public interest in the smooth, efficient operation of the bankruptcy system by

4     encouraging competent bankruptcy specialists to remain in the field. First National Bank of

5     Chicago v. Committee of Creditors Holding Unsecured Claims (In re Powerline Oil Co.), 71 B.R.

6     767, 770 (Bankr. 9th Cir. 1986); In re Baldwin-United Corp., 79 B.R. 321, 346 (Bankr.S.D.Ohio

7     1987). Toward this end, Congress specifically disavowed notions of economy of administration,

8     and provided that compensation in bankruptcy case should be comparable to what is charged in

9     nonbankruptcy matters. Id. at 346.
10           Under the lodestar approach, the Court is to determine the number of hours reasonably

11    expended in an attorney’s representation of a debtor and multiply such number by a reasonable

12    hourly rate for the services performed. See Delaware Valley Citizens’ Council for Clear Air, 478

13    U.S. at 565; In re Powerline Oil Co., 71 B.R. at 770. A reasonable hourly rate is presumptively

14    the rate the marketplace pays for the services rendered. Missouri v. Jenkins by Agyei, 491 U.S.

15    274, 109 S.Ct. 2463, 2469 (1989); Burgess v. Klenske (In re Manoa Finance Co., Inc.) 853 F.2d

16    687, 691 (9th Cir.1988). Recognizing that the determination of an appropriate “market rate” for

17    the services of a lawyer is inherently difficult, the Supreme Court stated:
                      Market prices of commodities and most services are determined
18                    by supply and demand. In this traditional sense there is no such
19                    thing as a prevailing market rate for the service of lawyers in a
                      particular community. The type of services rendered by lawyers,
20                    as well as its experience, skill, and reputation, varies extensively --
                      even within a law firm. Accordingly, the hourly rates of lawyers
21                    in private practice also vary widely. The fees charged often are
                      based on the product of hours devoted to the representation
22                    multiplied by the lawyer’s customary rate.
23
      Blum v. Stenson, 465 U.S. 886, 895 n.11 (1984). The Supreme Court has stated that a reasonable
24
      attorney’s fee “means a fee that would have been deemed reasonable if billed to affluent plaintiffs
25
      by its own attorneys.” Missouri v. Jenkins by Agyei, 109 S.Ct. at 2470 (quoting City of Riverside
26
      v. Rivera, 477 U.S. 561, 591 (1986) (Rehnquist, J. dissenting)). Accordingly, a reasonable hourly
27
28

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1     rate is the hourly amount to which attorneys in the area with comparable skill, experience and

2     reputation typically would be entitled as compensation. Blum v. Stenson, 465 U.S. at 895 n.11.

3            SAM respectfully submits that the hourly rates for its attorneys and paraprofessionals and

4     the total amount of fees and expenses incurred are reasonable and appropriate in the relevant

5     community and in view of the circumstances of, and successful sale results that SAM helped

6     achieve in these cases. SAM served an instrumental and critical role in these cases, serving as a

7     source of critical information, assisting the Debtors with their reporting and SEC compliance

8     obligations, handling all of the Debtors’ corporate governance needs, assisting the Debtors’

9     prepare sale documents required to close a sale transaction, and assisting the Debtors’ with
10    closing a sale transaction. SAM also assisted the Debtors’ preserve and protect the Debtors’
11    intellectual property, and handle various litigation matters.
12           SAM put forth an extraordinary amount of effort addressing all of the Debtors’ needs in a
13    high pressure sale environment where emergency matters arose and were professionally and
14    successfully addressed by SAM. SAM charged the Debtors SAM’s “Emerging Growth” rates
15    that were negotiated by and between the Debtors and SAM and which reflect a reduced billing
16    rate as compared with SAM’s standard hourly billing rates, which are comparable and
17    commensurate with the billing rates of similar corporate and securities, intellectual property, and
18    general litigation firms.

19           SAM respectfully submits that the foregoing establishes that SAM’s requested fees and

20    expenses are reasonable and appropriate and should be approved by the Court.

21                                                       VI.

22                                              CONCLUSION

23           WHEREFORE, SAM respectfully requests that this Court enter an order:

24           1.      Approving on an interim basis fees of $112,763.00 and expenses of $6,484.77 for

25    total fees and expenses of $119,247.77 incurred during the Covered Period of September 8, 2017

26    through and including November 20, 2017, and authorizing SAM to be paid this sum of

27    $119,247.77 from the funds in these estates; and
28           2.      Granting such other and further relief as the Court deems just and proper.

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1     Dated: November 21, 2017                LEVENE, NEALE, BENDER, YOO & BRILL
                                              L.L.P.
2

3
                                              By        /s/ Krikor J. Meshefejian
4                                                       RON BENDER
                                                        LEVENE, NEALE, BENDER, YOO
5                                                       & BRILL L.L.P.
                                                        Attorneys for Chapter 11 Debtors and
6                                                       Debtors in Possessions
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1                               DECLARATION OF SCOTT ALDERTON

2            I, Scott Alderton, hereby declare as follows:

3            1.      I have personal knowledge of the facts set forth below and, if called to testify,

4     would and could competently testify thereto. Capitalized terms not otherwise defined herein shall

5     have the same meaning as ascribed to such terms in the Fee Application to which this Declaration

6     is attached (the “Application”).

7            2.      I am a partner of Stubbs Alderton & Markiles LLP (“SAM”), the Debtors’

8     corporate and securities, trademark, and litigation counsel.

9            3.      I make this Declaration in support of SAM’s First Interim Application for
10    Approval of Fees and Reimbursement of Expenses (the “Application”) to which this Declaration
11    is attached. This Application pertains to services rendered and expenses incurred by SAM during

12    the period of September 8, 2017 (the date of the Debtors’ chapter 11 bankruptcy filings) through

13    November 20, 2017 (the “Covered Period”).

14           4.      To the best of my knowledge, information and belief, all of the matters stated in

15    the Application are true and correct, and the Application complies with all applicable statutes,

16    rules, regulations and procedures.

17           5.      The amounts requested in the Application for compensation of fees and

18    reimbursement of expenses incurred are based on SAM’s business records, which are kept and

19    maintained by SAM in the ordinary course of SAM’s business.

20           6.      All expenses for outside services such as photocopying services, messenger and

21    express mail services, postage and research services (Lexis and Westlaw) for which SAM

22    requests reimbursement are the actual expenses incurred by SAM for such services, and SAM

23    does not seek any additional amounts or profits with respect thereto.

24           7.      Attached hereto as Exhibit “1” is a detailed listing of all time entries for services

25    performed, a summary of services performed, and specific descriptions of services performed,

26    during the Covered Period.

27           8.      Attached hereto as Exhibit “2” is a detailed listing of all expenses incurred by
28    SAM during the Covered Period (recognizing that there are at times delays between the date that

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1     expenses are incurred by SAM and when they are entered into SAM’s billing system so that

2     additional expenses incurred during the Covered Period may not be contained in Exhibit “2” and

3     will appear in the next fee application filed by SAM).

4            9.      Attached hereto as Exhibit “3” is a copy of SAM’s firm resume and the resumes of

5     its professionals and paraprofessionals.

6            10.     Attached hereto as Exhibit “4” is a listing of the applicable hourly billing rates of

7     SAM’s professionals and paraprofessionals.

8            I declare under penalty of perjury under the laws of the United States of America that the

9     foregoing is true and correct. Executed this 21st day of November, 2017, at Los Angeles,

10    California.

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14                                                             SCOTT ALDERTON, ESQ.
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                           EXHIBIT “1”
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Date: 11/09/2017                                                                Detail Fee Transaction File List                                                         Page: 1
                                                                                Stubbs Alderton & Markiles, LLP

                   Trans               H Tcode/                   Hours
Client             Date         Tmkr   P Task Code   Rate         to Bill       Amount                                                                                   Ref #        Corp/Securities    IP    Litigation   Misc. Bankruptcy

Timekeeper 1 Scott Alderton
IRONCLAD.22        09/11/2017      1   A    1               650             3.60 $       2,340.00    Attention to multiple issues in bankruptcy filings [1.3]; review    ARCH               3.1                                   0.5
                                                                                                     Craig-Hallum Engagement Letter [0.5]; review Auction Sale
                                                                                                     Notice [0.5]; review Bid Procedures Order [0.5]; review Request
                                                                                                     to file Letter Under Seal [0.3]; review Emergency Motions
                                                                                                     and Bid Procedures [0.5].
                                                                                                     Ironclad Performance Wear Corp.
                                                                                                     Ironclad Bankruptcy Proceedings
IRONCLAD.22        09/12/2017      1   A    1               650             2.20 $       1,430.00    Discussion with Skadden regarding SEC Matters [0.7];                ARCH               1.4                                   0.8
                                                                                                     telephone call with Director Padnos[0.7]; review bankruptcy
                                                                                                     issues with Mr. Fritz [0.5]; review stay letters [0.3].
                                                                                                     Ironclad Performance Wear Corp.
                                                                                                     Ironclad Bankruptcy Proceedings
IRONCLAD.22        09/14/2017      1   A    1               650             1.90 $       1,235.00    Attention to SEC issues and D&O insurance claims [0.6];             ARCH               1.9
                                                                                                     multiple phone calls [1.3].
                                                                                                     Ironclad Performance Wear Corp.
                                                                                                     Ironclad Bankruptcy Proceedings
IRONCLAD.22        09/18/2017      1   A    1               650             1.70 $       1,105.00    Telephone call with Mr. DiGregorio [0.7]; review issues             ARCH               1.2                                   0.5
                                                                                                     relating to Australia Distributor and other BK matters [0.5];
                                                                                                     analysis of D&O Policy and begin preparing response [0.5].
                                                                                                     Ironclad Performance Wear Corp.
                                                                                                     Ironclad Bankruptcy Proceedings
IRONCLAD.22        09/20/2017      1   A    1               650             2.20 $       1,430.00    Multiple calls with client to discuss BDO and SEC                   ARCH               2.2
                                                                                                     issues [0.8]; conference call with BDO and Skadden lawyers [0.8];
                                                                                                     follow up call with Skadden lawyers [0.6].
                                                                                                     Ironclad Performance Wear Corp.
                                                                                                     Ironclad Bankruptcy Proceedings
IRONCLAD.22        09/23/2017      1   A    1               650             1.20 $         780.00    Review BDO Materials [0.3]; attend call with counsel, Mike          ARCH               1.2
                                                                                                     DiGregorio [0.9].
                                                                                                     Ironclad Performance Wear Corp.
                                                                                                     Ironclad Bankruptcy Proceedings
IRONCLAD.22        09/25/2017      1   A    1               650             1.90 $       1,235.00    Multiple calls with Skadden and client [1.0]; review SEC            ARCH               1.9
                                                                                                     response [0.4]; attention to 8K [0.5].
                                                                                                     Ironclad Performance Wear Corp.
                                                                                                     Ironclad Bankruptcy Proceedings
IRONCLAD.22        09/27/2017      1   A    1               650             2.50 $       1,625.00    Review 8K [0.5]; review Employment Application [0.5]; telephone     ARCH               1.5                                    1
                                                                                                     call with clients [1.0]; attention to multiple BK, insurance,
                                                                                                     accounting and other issues [0.5].
                                                                                                     Ironclad Performance Wear Corp.
                                                                                                     Ironclad Bankruptcy Proceedings
IRONCLAD.22        09/28/2017      1   A    1               650             0.70 $         455.00    Multiple calls with BK counsel and management team. [0.7]           ARCH               0.7
                                                                                                     Ironclad Performance Wear Corp.
                                                                                                     Ironclad Bankruptcy Proceedings
IRONCLAD.22        10/04/2017      1   P    1               650             2.50 $       1,625.00    Review Board deck and participate on Board Call [1.0];                      39         2.5
                                                                                                     attention to D&O Claim response [0.5]; telephone call with
                                                                                                     Mr. Dillon[1.0].
                                                                                                     Ironclad Performance Wear Corp.
                                                                                                     Ironclad Bankruptcy Proceedings
IRONCLAD.22        10/09/2017      1   P    1               650             0.50 $         325.00    Telephone call with counsel and Mr. Gruelich. [0.5]                         49         0.5
                                                                                                     Ironclad Performance Wear Corp.
                                                                                                     Ironclad Bankruptcy Proceedings
IRONCLAD.22        10/11/2017      1   P    1               650             0.40 $         260.00    Telephone call with Mr. Bender. [0.4]                                       50         0.4
                                                                                                     Ironclad Performance Wear Corp.
                                                                                                     Ironclad Bankruptcy Proceedings
IRONCLAD.22        10/11/2017      1   P    1               650             0.80 $         520.00    Meeting with Mr. Sherman and Mr. Elan regarding                             51         0.8
                                                                                                     researching prospective issues in connection with
                                                                                                     lawsuit against accountants. [0.8]
                                                                                                     Ironclad Performance Wear Corp.
                                                                                                     Ironclad Bankruptcy Proceedings
IRONCLAD.22        10/11/2017      1   P    1               650             0.50 $         325.00    Review Grainger acknowledgement. [0.5]                                      52         0.5
                                                                                                     Ironclad Performance Wear Corp.
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                                                                                Ironclad Bankruptcy Proceedings
IRONCLAD.22        10/16/2017     1   P   1         650    1.00 $     650.00    Review Item 8-K examples regarding SEC Investigation             56        1
                                                                                disclosure [0.5]; telephone call with Skadden attorney's
                                                                                regarding same and coordinate with Mr. Wharton the
                                                                                preparation of filing [0.5].
                                                                                Ironclad Performance Wear Corp.
                                                                                Ironclad Bankruptcy Proceedings
IRONCLAD.22        10/18/2017     1   P   1         650    0.40 $     260.00    Attention to disclosure of reports to Equity Committee,          57       0.4
                                                                                including discussions with counsel [0.4].
                                                                                Ironclad Performance Wear Corp.
                                                                                Ironclad Bankruptcy Proceedings
IRONCLAD.22        10/18/2017     1   P   1         650    0.40 $     260.00    Telephone call with Mr. Gruelich [0.4].                          58       0.4
                                                                                Ironclad Performance Wear Corp.
                                                                                Ironclad Bankruptcy Proceedings
IRONCLAD.22        10/18/2017     1   P   1         650    0.30 $     195.00    Telephone call with Mr. DiGrigorio [0.3].                        59       0.3
                                                                                Ironclad Performance Wear Corp.
                                                                                Ironclad Bankruptcy Proceedings
IRONCLAD.22        10/24/2017     1   P   1         650    1.00 $     650.00    Attend call with Skadden [1.0].                                  70        1
                                                                                Ironclad Performance Wear Corp.
                                                                                Ironclad Bankruptcy Proceedings
IRONCLAD.22        10/24/2017     1   P   1         650    1.20 $     780.00    Attention to document production for SEC [0.7] and related       71       1.2
                                                                                telephone call with Mr. DiGregorio [0.5].
                                                                                Ironclad Performance Wear Corp.
                                                                                Ironclad Bankruptcy Proceedings
IRONCLAD.22        10/25/2017     1   P   1         650    0.50 $     325.00    Telephone call with Mr. Bender [0.5].                            72       0.5
                                                                                Ironclad Performance Wear Corp.
                                                                                Ironclad Bankruptcy Proceedings
IRONCLAD.22        10/25/2017     1   P   1         650    0.80 $     520.00    Telephone call with Mr. DiGregorio [0.5] and attention to        73       0.8
                                                                                BDO USA issues [0.3].
                                                                                Ironclad Performance Wear Corp.
                                                                                Ironclad Bankruptcy Proceedings
IRONCLAD.22        10/27/2017     1   P   1         650    0.80 $     520.00    Telephone call call with Mr. Bender [0.8].                       74       0.8
                                                                                Ironclad Performance Wear Corp.
                                                                                Ironclad Bankruptcy Proceedings
IRONCLAD.22        10/27/2017     1   P   1         650    1.20 $     780.00    Attend Board of Directors call [1.2].                            75       1.2
                                                                                Ironclad Performance Wear Corp.
                                                                                Ironclad Bankruptcy Proceedings
IRONCLAD.22        10/27/2017     1   P   1         650    0.50 $     325.00    Telephone call with Mr. DiGregorio [0.5].                        76       0.5
                                                                                Ironclad Performance Wear Corp.
                                                                                Ironclad Bankruptcy Proceedings
IRONCLAD.22        10/29/2017     1   P   1         650    1.40 $     910.00    Review multiple bankruptcy motions [0.8] and discuss same        77                              1.4
                                                                                with Mr. Bender [0.6].
                                                                                Ironclad Performance Wear Corp.
                                                                                Ironclad Bankruptcy Proceedings
IRONCLAD.22        10/30/2017     1   P   1         650    1.80 $    1,170.00   Attention to issues during BK Auction [0.8]; telephone call      78                              1.8
                                                                                with Mr. Bender [1.0].
                                                                                Ironclad Performance Wear Corp.
                                                                                Ironclad Bankruptcy Proceedings
IRONCLAD.22        10/31/2017     1   P   1         650    1.00 $     650.00    Attend Board call with BK Counsel [1.0].                         79        1
                                                                                Ironclad Performance Wear Corp.
                                                                                Ironclad Bankruptcy Proceedings
IRONCLAD.22        10/31/2017     1   P   1         650    1.30 $     845.00    Attend call with SEC Investigation counsel regarding             80       1.3
                                                                                Subpoena compliance [1.3].
                                                                                Ironclad Performance Wear Corp.
                                                                                Ironclad Bankruptcy Proceedings

Total for Timekeeper 1                        Billable    36.20 $   23,530.00   Scott Alderton                                                            30.2                   6
                                                                                                                                                      $   19,630.00          $   3,900.00

Timekeeper 2 John McIlvery
IRONCLAD.22       09/20/2017      2   A   1         650    0.40 $     260.00    Review and respond to e-mails regarding disclosure of         ARCH        0.4
                                                                                internal investigation and relief from SEC filings. [0.4]
                                                                                Ironclad Performance Wear Corp.
                                                                                Ironclad Bankruptcy Proceedings

Total for Timekeeper 2                        Billable     0.40 $     260.00    John McIlvery                                                             0.4
                                                                                                                                                      $     260.00
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Timekeeper 5 James A. Sedivy
IRONCLAD.22          10/20/2017     5   A   1         495   0.20 $     99.00    Review noticew to client regarding TM issues regarding          ARCH       0.2
                                                                                VISUAL ENGINEERING and WORKBOOTS FOR
                                                                                YOUR HANDS. [0.2]
                                                                                Ironclad Performance Wear Corp.
                                                                                Ironclad Bankruptcy Proceedings

Total for Timekeeper 5                          Billable    0.20 $     99.00    James A. Sedivy                                                            0.2
                                                                                                                                                       $         99.00

Timekeeper 16 Louis Wharton
IRONCLAD.22        09/08/2017      16   A   1         600   3.20 $   1,920.00   Review and provide comments to various bankruptcy               ARCH       1.5                  1.7
                                                                                filings [1.7], press release [0.5] and Form 8-K [1.0].
                                                                                Ironclad Performance Wear Corp.
                                                                                Ironclad Bankruptcy Proceedings
IRONCLAD.22        09/11/2017      16   A   1         600   2.90 $   1,740.00   Draft letter to Securities and Exchange Commission              ARCH       2.9
                                                                                requesting filing relief. [2.5] Review and respond to
                                                                                correspondence regarding option issuances. [0.4]
                                                                                Ironclad Performance Wear Corp.
                                                                                Ironclad Bankruptcy Proceedings
IRONCLAD.22        09/12/2017      16   A   1         600   0.90 $    540.00    Review and respond to correspondence regarding                  ARCH       0.4                  0.5
                                                                                bankruptcy filings. [0.5] Telephone conference with
                                                                                Skadden regarding Securities and Exchange
                                                                                Commission filings. [0.4]
                                                                                Ironclad Performance Wear Corp.
                                                                                Ironclad Bankruptcy Proceedings
IRONCLAD.22        09/13/2017      16   A   1         600   0.90 $    540.00    Review and respond to correspondence regard public              ARCH       0.9
                                                                                reporting requirements during bankruptcy. [0.9]
                                                                                Ironclad Performance Wear Corp.
                                                                                Ironclad Bankruptcy Proceedings
IRONCLAD.22        09/14/2017      16   A   1         600   1.60 $    960.00    Review and respond to correspondence regarding                  ARCH       1.6
                                                                                stockholder contact information. [0.4] Correspond with
                                                                                Broadridge regarding distribution of materials to street
                                                                                name holders. [0.5] Review and analyze letter from BDO. [0.7]
                                                                                Ironclad Performance Wear Corp.
                                                                                Ironclad Bankruptcy Proceedings
IRONCLAD.22        09/17/2017      16   A   1         600   1.00 $    600.00    Review and respond to correspondence regarding                  ARCH       0.8                  0.2
                                                                                Bankruptcy filings. [0.2] Research regarding reporting
                                                                                obligations under Section 10A of the Exchange Act. [0.8]
                                                                                Ironclad Performance Wear Corp.
                                                                                Ironclad Bankruptcy Proceedings
IRONCLAD.22        09/18/2017      16   A   1         600   7.40 $   4,440.00   Correspond with Mr. Pliskin regarding Board Consents. [0.2]     ARCH       7.4
                                                                                Review and revise same. [0.8] Continue research regarding
                                                                                SEC reporting obligations. [3.9] Telephone conference with
                                                                                Messrs. Alderton and DiGregorio regarding same. [0.5]
                                                                                Correspond with Ms. Moghaddam regarding same. [0.3]
                                                                                Finalize Board Minutes. [1.0] Correspond with Board of
                                                                                Directors regarding same. [0.2] Review and revise
                                                                                Employment Application. [0.5]
                                                                                Ironclad Performance Wear Corp.
                                                                                Ironclad Bankruptcy Proceedings
IRONCLAD.22        09/20/2017      16   A   1         600   6.50 $   3,900.00   Research regarding SEC filing obligations under                 ARCH       6.5
                                                                                Exchange Act Sections 12(g), 13(a) and 15(d). [1.5]
                                                                                Research regarding audit requirements under
                                                                                Exchange Act Section 10A. [3.5] Telephone conference with
                                                                                working group regarding audit matters. [1.5]
                                                                                Ironclad Performance Wear Corp.
                                                                                Ironclad Bankruptcy Proceedings
IRONCLAD.22        09/21/2017      16   A   1         600   0.20 $    120.00    Correspond with Broadridge regarding NOBO List. [0.2]           ARCH       0.2
                                                                                Ironclad Performance Wear Corp.
                                                                                Ironclad Bankruptcy Proceedings
IRONCLAD.22        09/23/2017      16   A   1         600   3.50 $   2,100.00   Research reporting requirements based on BDO LLC                ARCH       3.5
                                                                                10A report and resignation letter. [2.0] Correspond with
                                                                                counsel regarding same. [0.5] Telephone conference with
                                                                                members of the Board and Skadden Arps regarding
                                                                                same. [1.0]
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                                                                   Ironclad Performance Wear Corp.
                                                                   Ironclad Bankruptcy Proceedings
IRONCLAD.22   09/25/2017    16   A   1   600   0.30 $    180.00    Review 10A response letter. [0.3]                             ARCH    0.3
                                                                   Ironclad Performance Wear Corp.
                                                                   Ironclad Bankruptcy Proceedings
IRONCLAD.22   09/26/2017    16   A   1   600   3.20 $   1,920.00   Review and respond to correspondence regarding                ARCH    2.5          0.7
                                                                   various bankruptcy matters. [0.7] Draft form 8-K regarding
                                                                   BDO resignation. [2.5]
                                                                   Ironclad Performance Wear Corp.
                                                                   Ironclad Bankruptcy Proceedings
IRONCLAD.22   09/27/2017    16   A   1   600   5.10 $   3,060.00   Continue review and revision of Form 8-K. [1.5] Correspond    ARCH    5.1
                                                                   with working group regarding same. [0.2] Draft Board
                                                                   Consents regarding new bank accounts. [0.5] Finalize and
                                                                   circulate Board Consents and Board Minutes regarding
                                                                   recent corporate actions. [1.5] Review and revise Employee
                                                                   Proprietary Information and Inventions Agreement. [1.2]
                                                                   Correspond with Mr. Pliskin regarding same. [0.2]
                                                                   Ironclad Performance Wear Corp.
                                                                   Ironclad Bankruptcy Proceedings
IRONCLAD.22   09/29/2017    16   A   1   600   0.40 $    240.00    Review and revise Non-Disclosure Agreement for                ARCH    0.4
                                                                   Marquee Brands. [0.4]
                                                                   Ironclad Performance Wear Corp.
                                                                   Ironclad Bankruptcy Proceedings
IRONCLAD.22   10/03/2017    16   P   1   600   0.20 $    120.00    Compile executed Board Consents. Correspond with                 34   0.2
                                                                   Mr. Pliskin regarding same. [0.2]
                                                                   Ironclad Performance Wear Corp.
                                                                   Ironclad Bankruptcy Proceedings
IRONCLAD.22   10/04/2017    16   P   1   600   2.50 $   1,500.00   Attend Board Meeting and draft minutes. [2.2] Review and         35   2.5
                                                                   revise Marquee Non-Disclosure Agreement. [0.3]
                                                                   Ironclad Performance Wear Corp.
                                                                   Ironclad Bankruptcy Proceedings
IRONCLAD.22   10/05/2017    16   P   1   600   3.60 $   2,160.00   Review and respond to correspondence regarding                   36   1            2.6
                                                                   bankruptcy filings related to sale transaction. [2.6] Draft
                                                                   Board Minutes. [1.0]
                                                                   Ironclad Performance Wear Corp.
                                                                   Ironclad Bankruptcy Proceedings
IRONCLAD.22   10/06/2017    16   P   1   600   2.10 $   1,260.00   Review Sale Motion, Sale Order and related                       15   0.8          1.3
                                                                   documents. [1.3] Coordinate execution of Non-Disclosure
                                                                   Agreements in connection with sale transaction. [0.5]
                                                                   Coordinate compilation and execution of outstanding
                                                                   corporate documents. [0.3]
                                                                   Ironclad Performance Wear Corp.
                                                                   2017 Strategic Transaction
IRONCLAD.22   10/11/2017    16   P   1   600   1.80 $   1,080.00   Review records regarding BDO Engagement Letter and               40   1            0.8
                                                                   corporate governance policies. [0.8] Correspond with
                                                                   working group regarding same. [0.2] Review and revise
                                                                   Stipulation Providing for Assumption and Assignment of
                                                                   Executory Contract. [0.5] Telephone conference with Mr.
                                                                   Pliskin regarding same. [0.3]
                                                                   Ironclad Performance Wear Corp.
                                                                   Ironclad Bankruptcy Proceedings
IRONCLAD.22   10/12/2017    16   P   1   600   3.60 $   2,160.00   Review Grainger Proposal and Grainger agreements                 41   3.6
                                                                   and prepare comments to Grainger proposal. [3.6]
                                                                   Ironclad Performance Wear Corp.
                                                                   Ironclad Bankruptcy Proceedings
IRONCLAD.22   10/13/2017    16   P   1   600   1.40 $    840.00    Continue preparation of comments to Grainger                     42   1.4
                                                                   proposal. [1.2] Correspond with Mr. Greulich regarding
                                                                   same. [0.2]
                                                                   Ironclad Performance Wear Corp.
                                                                   Ironclad Bankruptcy Proceedings
IRONCLAD.22   10/15/2017    16   P   1   600   0.60 $    360.00    Draft amendment to Form 8-K regarding BDO letter. [0.6]          43   0.6
                                                                   Ironclad Performance Wear Corp.
                                                                   Ironclad Bankruptcy Proceedings
IRONCLAD.22   10/18/2017    16   P   1   600   0.50 $    300.00    Correspond with Mr. Meshefejian regarding director               53   0.5
                                                                   policies. [0.5]
                                                                   Ironclad Performance Wear Corp.
                                                                   Ironclad Bankruptcy Proceedings
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IRONCLAD.22        10/20/2017     16   P   1         600    0.70 $     420.00    Correspond with Mr. Pliskin regarding employment                 54       0.7
                                                                                 agreements. [0.3] Research regarding Form 8-K
                                                                                 requirements in connection with Status Report. [0.4]
                                                                                 Ironclad Performance Wear Corp.
                                                                                 Ironclad Bankruptcy Proceedings
IRONCLAD.22        10/23/2017     16   P   1         600    0.50 $     300.00    Review correspondence regarding Grainger claim and               67       0.5
                                                                                 Securities and Exchange Commission inquiry. [0.5]
                                                                                 Ironclad Performance Wear Corp.
                                                                                 Ironclad Bankruptcy Proceedings
IRONCLAD.22        10/24/2017     16   P   1         600    2.10 $    1,260.00   Review and prepare initial responses to memorandum               68       2.1
                                                                                 regarding Securities and Exchange Commission
                                                                                 inquiry. [1.1] Attend conference call regarding same. [1.0]
                                                                                 Ironclad Performance Wear Corp.
                                                                                 Ironclad Bankruptcy Proceedings
IRONCLAD.22        10/26/2017     16   P   1         600    0.20 $     120.00    Correspond with Mr. Pliskin regarding corporate                  69       0.2
                                                                                 documents. [0.2]
                                                                                 Ironclad Performance Wear Corp.
                                                                                 Ironclad Bankruptcy Proceedings
IRONCLAD.22        10/27/2017     16   P   1         600    2.70 $    1,620.00   Review and respond to correspondence regarding                   64       2.7
                                                                                 diligence requests. [2.2] Review memorandum regarding
                                                                                 potential claims against third parties. [0.5]
                                                                                 Ironclad Performance Wear Corp.
                                                                                 Ironclad Bankruptcy Proceedings
IRONCLAD.22        10/30/2017     16   P   1         600    4.90 $    2,940.00   Review materials regarding auction process. [0.7]                66       4.2                                 0.7
                                                                                 Correspond with Mr. Pliskin regarding Securities and
                                                                                 Exchange Commission filings. [0.2] Review corporate
                                                                                 records for indemnification agreements and
                                                                                 Non-Disclosure Agreements. [1.0] Correspond with Mr.
                                                                                 Emslie regarding UK entity. [0.6] Review revisions to Asset
                                                                                 Purchase Agreement. [0.8] Draft Form 8-K regarding same. [1.3]
                                                                                 Ironclad Performance Wear Corp.
                                                                                 Ironclad Bankruptcy Proceedings

Total for Timekeeper 16                        Billable    64.50 $   38,700.00   Louis Wharton                                                              56                                 8.5
                                                                                                                                                       $   33,600.00                       $    5,100.00

Timekeeper 23 Michael Sherman
IRONCLAD.22       10/11/2017      23   P   1         585    1.00 $     585.00    Telephone call with Mr. Alderton and Mr. Bender                  62                             0.5           0.5
                                                                                 regarding Bankruptcy/litigation issues [0.5]; meeting with Mr.
                                                                                 Alderton and Mr. Elan regarding statute of limitations
                                                                                 issues [0.5].
                                                                                 Ironclad Performance Wear Corp.
                                                                                 Ironclad Bankruptcy Proceedings
IRONCLAD.22        10/17/2017     23   P   1         585    0.30 $     175.50    Preliminary review of memorandum regarding BDO                   61                             0.3
                                                                                 claims and statute of limitations issues. [0.3]
                                                                                 Ironclad Performance Wear Corp.
                                                                                 Ironclad Bankruptcy Proceedings
IRONCLAD.22        10/24/2017     23   P   1         585    1.00 $     585.00    Review BDO claims. [1.0]                                         63                              1
                                                                                 Ironclad Performance Wear Corp.
                                                                                 Ironclad Bankruptcy Proceedings
IRONCLAD.22        10/25/2017     23   P   1         585    0.60 $     351.00    Telephone calls with Mr. Steyer and Mr. Alderton                 65                             0.6
                                                                                 regarding claims against BDO Seidman. [0.6]
                                                                                 Ironclad Performance Wear Corp.
                                                                                 Ironclad Bankruptcy Proceedings

Total for Timekeeper 23                        Billable     2.90 $    1,696.50   Michael Sherman                                                                                 2.4           0.5
                                                                                                                                                                              $ 1,404.00   $      292.50

Timekeeper 24 Christine Morigi
IRONCLAD.22        10/03/2017     24   P   1         250    1.10 $     275.00    Research and prepare for client conference [0.2].                33       1.1
                                                                                 Telephone call with Think HR regarding labor release
                                                                                 and Texas methodology regarding employment claims [0.4].
                                                                                 Review federal exemption laws [0.2]. Telephone call with
                                                                                 client [0.3].
                                                                                 Ironclad Performance Wear Corp.
                                                                                 Ironclad Bankruptcy Proceedings
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Total for Timekeeper 24                       Billable    1.10 $    275.00    Christine Morigi
                                                                                                                                                       1.1
                                                                                                                                                   $     275.00
Timekeeper 31 Tami C. Solomon
IRONCLAD.22       09/08/2017     31   A   1         250   4.00 $   1,000.00   Attention to status report for worldwide trademarks;[0.2]     ARCH                   4
                                                                              request status updates for mark in China [2.5] and
                                                                              Indonesia. [1.3]
                                                                              Ironclad Performance Wear Corp.
                                                                              Trademark and Counterfeiting
IRONCLAD.22        09/11/2017    31   A   1         250   2.70 $    675.00    Finalize status report and forward to Mr. Gersh and           ARCH                  2.7
                                                                              forward Trademark; [2.5] report to client. [0.2]
                                                                              Ironclad Performance Wear Corp.
                                                                              Trademark and Counterfeiting
IRONCLAD.22        09/12/2017    31   A   1         250   0.20 $     50.00    Attention to Appeal for Refusal to Trade Mark                 ARCH                  0.2
                                                                              Application No. 21081271 IVE in Class 25;[0.1] provide
                                                                              instructions to counsel not to file supplemental
                                                                              arguments. [0.1]
                                                                              Ironclad Performance Wear Corp.
                                                                              Trademark and Counterfeiting
IRONCLAD.22        09/12/2017    31   A   1         250   0.30 $     75.00    Attention to Trade Mark Applications Nos. 19945514            ARCH                  0.3
                                                                              IRONCLAD and 19945512 (IRONCLAD & DEVICE)
                                                                              both in Class 9; [0.1] Prepare correspondence to client
                                                                              regarding the acceptance and publication of both
                                                                              marks. [0.2]
                                                                              Ironclad Performance Wear Corp.
                                                                              Trademark and Counterfeiting
IRONCLAD.22        09/12/2017    31   A   1         250   0.30 $     75.00    Attention to Invalidation against the cited mark No.          ARCH                  0.3
                                                                              13915530 in class 25 in the name of Li Mingzhu; [0.1]
                                                                              Prepare correspondence to foreign counsel to confirm
                                                                              the deadline to file supplemental evidence and
                                                                              recommendations. [0.2]
                                                                              Ironclad Performance Wear Corp.
                                                                              Trademark and Counterfeiting
IRONCLAD.22        09/13/2017    31   A   1         250   0.10 $     25.00    Physical market search for use of IRONCLAD in class           ARCH                  0.1
                                                                              9 in the name of Antony Chenova in Indonesia; receive
                                                                              instructions to file a response to the office action. [0.1]
                                                                              Ironclad Performance Wear Corp.
                                                                              Trademark and Counterfeiting
IRONCLAD.22        09/13/2017    31   A   1         250   0.30 $     75.00    Attention to IVE applications in China; [0.1] prepare         ARCH                  0.3
                                                                              correspondence to foreign counsel regarding the
                                                                              client's instructions. [0.2]
                                                                              Ironclad Performance Wear Corp.
                                                                              Trademark and Counterfeiting
IRONCLAD.22        09/13/2017    31   A   1         250   0.60 $    150.00    Attention to allowance of trademarks in Canada; [0.1]         ARCH                  0.6
                                                                              Prepare correspondence to client regarding same for
                                                                              Canadian Trademark Application Nos. 1,743,711,
                                                                              1,743,712 and 1,746,025. [0.5]
                                                                              Ironclad Performance Wear Corp.
                                                                              Trademark and Counterfeiting
IRONCLAD.22        09/14/2017    31   A   1         250   0.60 $    150.00    Receive notice of Registration for IRONCLAD in                ARCH                  0.6
                                                                              classes 09, 28 [0.1] and KONG in class 09; [0.1]prepare
                                                                              correspondence to client regarding same. [0.4]
                                                                              Ironclad Performance Wear Corp.
                                                                              Trademark and Counterfeiting
IRONCLAD.22        09/15/2017    31   A   1         250   0.40 $    100.00    Receive correspondence from counsel in connection             ARCH                  0.4
                                                                              with IVE applications in China; [0.2] update records for
                                                                              same. [0.2]
                                                                              Ironclad Performance Wear Corp.
                                                                              Trademark and Counterfeiting
IRONCLAD.22        09/15/2017    31   A   1         250   0.30 $     75.00    Attention to filing new trademark applications in Brazil      ARCH                  0.3
                                                                              for KONG and IRONCLAD in class 25;[0.1] receive POA
                                                                              from client for same. [0.1] Instruct foreign counsel to
                                                                              proceed with filings. [0.1]
                                                                              Ironclad Performance Wear Corp.
                                                                              Trademark and Counterfeiting
IRONCLAD.22        09/19/2017    31   A   1         250   1.00 $    250.00    Prepare trademark report and status for the purpose of        ARCH                   1
                                                                              showing up coming actions and costs estimates. [1.0]
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                                                                 Ironclad Performance Wear Corp.
                                                                 Trademark and Counterfeiting
IRONCLAD.22   09/19/2017    31   A   1   250   0.30 $    75.00   Attention to Registrations of IRONCLAD and KONG in            ARCH    0.3
                                                                 India for classes 09 and 28;[0.1] prepare correspondence to
                                                                 the client for same.[0.2]
                                                                 Ironclad Performance Wear Corp.
                                                                 Trademark and Counterfeiting
IRONCLAD.22   09/20/2017    31   A   1   250   1.30 $   325.00   Prepare cost quote for persecution of worldwide               ARCH    1.3
                                                                 trademarks for Ironclad up to November 30 2017;[1.1]
                                                                 forward to Mr. Wharton.[0.2]
                                                                 Ironclad Performance Wear Corp.
                                                                 Trademark and Counterfeiting
IRONCLAD.22   09/22/2017    31   A   1   250   0.30 $    75.00   Attention to Invalidation of KONG in the name of Li           ARCH    0.3
                                                                 Mingzhu in China; [0.1] receive requested supplemental
                                                                 evidence and forward to foreign counsel for review.[0.2]
                                                                 Ironclad Performance Wear Corp.
                                                                 Trademark and Counterfeiting
IRONCLAD.22   09/25/2017    31   A   1   250   0.20 $    50.00   Attention to renewals for COWBOY CUFF and                     ARCH    0.2
                                                                 MAJORED IN SWEAT, MINORED IN DIRT; [0.1] request
                                                                 instructions from client.[0.1]
                                                                 Ironclad Performance Wear Corp.
                                                                 Trademark and Counterfeiting
IRONCLAD.22   09/29/2017    31   A   1   250   0.50 $   125.00   Attention to Invalidation against the cited mark No.          ARCH    0.5
                                                                 13915530 in class 25 in the name of Li Mingzhu; [0.3]
                                                                 request for further evidence from client for same.[0.2]
                                                                 Ironclad Performance Wear Corp.
                                                                 Trademark and Counterfeiting
IRONCLAD.22   10/02/2017    31   P   1   250   0.30 $    75.00   Attention to Invalidation against the cited mark No.             89   0.3
                                                                 13915530 in class 25 in the name of Li Mingzhu;[0.1]
                                                                 request for further evidence from client for same;[0.1]
                                                                 provide cost to the client for foreign counsel to file the
                                                                 rebuttal.[0.1]
                                                                 Ironclad Performance Wear Corp.
                                                                 Ironclad Bankruptcy Proceedings
IRONCLAD.22   10/02/2017    31   P   1   250   0.50 $   125.00   Attention to Canadian Mark: IVE & Design 1,746,025               90   0.5
                                                                 Classes 09, 25; [0.2] prepare correspondence to client
                                                                 regarding the deadline to file the Declaration of Use.[0.3]
                                                                 Ironclad Performance Wear Corp.
                                                                 Ironclad Bankruptcy Proceedings
IRONCLAD.22   10/02/2017    31   P   1   250   0.30 $    75.00   Attention Canadian Mark: DIAMOND Design                          91   0.3
                                                                 Application No. 1,743,711;[0.1] prepare correspondence to
                                                                 client regarding the deadline to file the Declaration of
                                                                 Use.[0.2]
                                                                 Ironclad Performance Wear Corp.
                                                                 Ironclad Bankruptcy Proceedings
IRONCLAD.22   10/05/2017    31   P   1   250   0.20 $    50.00   Attention to new trademark filings in Brazil for KONG            92   0.2
                                                                 and IRONCLAD; [0.1] report filing particulars to the client
                                                                 and docket same.[0.2]
                                                                 Ironclad Performance Wear Corp.
                                                                 Ironclad Bankruptcy Proceedings
IRONCLAD.22   10/09/2017    31   P   1   250   0.30 $    75.00   Attention to China - Invalidation against the cited mark         93   0.3
                                                                 No. 13915530 KONG in class 25 in the name of Li
                                                                 Mingzhu; [0.1]prepare correspondence to client regarding
                                                                 further recommendations from counsel.[0.2]
                                                                 Ironclad Performance Wear Corp.
                                                                 Ironclad Bankruptcy Proceedings
IRONCLAD.22   10/10/2017    31   P   1   250   0.20 $    50.00   Attention to China - Invalidation against the cited mark         94   0.2
                                                                 No. 13915530 KONG in class 25 in the name of Li
                                                                 Mingzhu (a Chinese individual); [0.1] prepare
                                                                 correspondence to client regarding further
                                                                 recommendations from counsel.[0.2]
                                                                 Ironclad Performance Wear Corp.
                                                                 Ironclad Bankruptcy Proceedings
IRONCLAD.22   10/19/2017    31   P   1   250   0.00 $      -     Receive and review correspondence from the United                95    0
                                                                 States Patent and Trademark Office in connection with
                                                                 Statement of Use for US Trademark VISUAL
                                                                 ENGINEERING and WORKBOOTS FOR YOUR
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                                                                                     HANDS in classes 25 and 35; [0.1] Prepare correspondence
                                                                                     to client regarding same and pull specimens of use.[0.2]
                                                                                     Ironclad Performance Wear Corp.
                                                                                     Ironclad Bankruptcy Proceedings
IRONCLAD.22        10/23/2017       31   P    1         250      0.50 $    125.00    Attention to Registered Trademark No. 3508921 in                  96            0.5
                                                                                     Class 25 for IRONCLAD (word) in India;[0.2] docket same
                                                                                     and forward to client.[0.3]
                                                                                     Ironclad Performance Wear Corp.
                                                                                     Ironclad Bankruptcy Proceedings
IRONCLAD.22        10/24/2017       31   P    1         250      0.00 $        -     Receive and review correspondence from the United                 97             0
                                                                                     States Patent and Trademark Office in connection with
                                                                                     Statement of Use for US Trademark VISUAL
                                                                                     ENGINEERING and WORKBOOTS FOR YOUR
                                                                                     HANDS in classes 25 and 35; follow up with client
                                                                                     regarding same and pull specimens of use.[0.2]
                                                                                     Ironclad Performance Wear Corp.
                                                                                     Ironclad Bankruptcy Proceedings
IRONCLAD.22        10/27/2017       31   P   95         250      0.00 $        -     Attention to Statement of Use for VISUAL                          98             0
                                                                                     ENGINEERING in class 25; [0.2] Exchange correspondence
                                                                                     with client and request further information. Check links
                                                                                     provided by client and gather specimens of use.[0.8]
                                                                                     Ironclad Performance Wear Corp.
                                                                                     Ironclad Bankruptcy Proceedings
IRONCLAD.22        10/27/2017       31   P    1         250      0.40 $    100.00    Attention to China- Non-use cancellation against                  99            0.4
                                                                                     trademark Registration No. 7966546 "IVE & AI WEI YI
                                                                                     in Chinese" in class 9; [0.2] receive news from foreign
                                                                                     counsel of the unfavorable decision and notify client of
                                                                                     same.[0.2]
                                                                                     Ironclad Performance Wear Corp.
                                                                                     Ironclad Bankruptcy Proceedings
IRONCLAD.22        10/27/2017       31   P    1         250      0.40 $    100.00    Attention to Deadline to appeal for Trademark                    100            0.4
                                                                                     Application No. 22350775 KONG in Class 9; [0.1] prepare
                                                                                     correspondence to client requesting instructions.[0.3]
                                                                                     Ironclad Performance Wear Corp.
                                                                                     Ironclad Bankruptcy Proceedings
IRONCLAD.22        10/27/2017       31   P    1         250      0.30 $     75.00    Attention to Indonesia Notice of Rejection against               101            0.3
                                                                                     Trademark Application KONG in class 9 in the name of
                                                                                     Ironclad Performance Wear Corp; [0.1]review
                                                                                     correspondence.[0.2]
                                                                                     Ironclad Performance Wear Corp.
                                                                                     Ironclad Bankruptcy Proceedings
IRONCLAD.22        10/27/2017       31   P   95         250      0.00 $        -     Attention to filing request for an Extension of Time in          102             0
                                                                                     which to file a Statement of Use in connection with the
                                                                                     pending trademark application for VISUAL
                                                                                     ENGINEERING Cl. 25 Serial number 86737038. [0.5]
                                                                                     Ironclad Performance Wear Corp.
                                                                                     Ironclad Bankruptcy Proceedings
IRONCLAD.22        10/31/2017       31   P    1         250      0.20 $     50.00    Follow up with Mr. Jaeger regarding KONG in China;[0.1]          103            0.2
                                                                                     requested a conference call to discuss issues.[0.1]
                                                                                     Ironclad Performance Wear Corp.
                                                                                     Ironclad Bankruptcy Proceedings

Total for Timekeeper 31                           Billable      17.00 $   4,250.00   Tami C. Solomon                                                                  17
                                                  Non-billabl    0.00 $        -
                                                  Total         17.00 $   4,250.00
                                                                                                                                                                  $ 4,250.00

Timekeeper 38 Stephen A. Carroll
IRONCLAD.22       09/14/2017        38   A   89         250      1.20 $        -     Attention to filing of Matthew Pliskin Form 3 with SEC; [.4]   ARCH    0
                                                                                     update his EDGAR Codes and calls to SEC regarding
                                                                                     same. [.8]
                                                                                     Ironclad Performance Wear Corp.
                                                                                     SEC Compliance-Fixed Fee
IRONCLAD.22        10/26/2017       38   P    1         250      0.20 $     50.00    Obtain long form charter from NV Secretary of State. [.2]         60   0.2
                                                                                     Ironclad Performance Wear Corp.
                                                                                     Ironclad Bankruptcy Proceedings
IRONCLAD.22        10/31/2017       38   P    1         250      0.40 $    100.00    Attention to entity due diligence. [.2] obtain plain and          81   0.4
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                                                                                   certified copies of Ironclad Performance Wear
                                                                                   Corporation (CA entity) organizational/charter
                                                                                   documents. [.2]
                                                                                   Ironclad Performance Wear Corp.
                                                                                   Ironclad Bankruptcy Proceedings

Total for Timekeeper 38                       Billable        0.60 $     150.00    Stephen A. Carroll                                                    0.6
                                              Non-billabl     1.20 $        -
                                              Total           1.80 $     150.00
                                                                                                                                                     $     150.00

Timekeeper 44 Grace H. Kim
IRONCLAD.22       09/18/2017     44   A   1         250       1.70 $     425.00    Draft Florida form Employee Proprietary Information       ARCH        1.7
                                                                                   and Inventions Assignment Agreement. [1.7]
                                                                                   Ironclad Performance Wear Corp.
                                                                                   Ironclad Bankruptcy Proceedings
IRONCLAD.22        09/19/2017    44   A   1         250       1.10 $     275.00    Draft Florida form Employee Proprietary Information       ARCH        1.1
                                                                                   and Inventions Assignment Agreement. [1.1]
                                                                                   Ironclad Performance Wear Corp.
                                                                                   Ironclad Bankruptcy Proceedings

Total for Timekeeper 44                       Billable        2.80 $     700.00    Grace H. Kim                                                          2.8
                                                                                                                                                     $     700.00

Timekeeper 53 Neil Elan
IRONCLAD.22        10/11/2017    53   P   1         425       2.00 $     850.00    Initial legal research regarding accounting malpractice      44                                    2
                                                                                   and contract breach under New York law. [2.0]
                                                                                   Ironclad Performance Wear Corp.
                                                                                   Ironclad Bankruptcy Proceedings
IRONCLAD.22        10/11/2017    53   P   1         425       0.30 $     127.50    Meeting regarding engagement letter and accounting           45                                   0.3
                                                                                   malpractice and contract breach claims. [0.3]
                                                                                   Ironclad Performance Wear Corp.
                                                                                   Ironclad Bankruptcy Proceedings
IRONCLAD.22        10/12/2017    53   P   1         425       2.00 $     850.00    Further legal research regarding accounting                  46                                    2
                                                                                   malpractice and breach of contract. [2.0]
                                                                                   Ironclad Performance Wear Corp.
                                                                                   Ironclad Bankruptcy Proceedings
IRONCLAD.22        10/13/2017    53   P   1         425       3.00 $    1,275.00   Begin to prepare Memorandum regarding Ironclad's             47                                    3
                                                                                   causes of action against BDO. [3.0]
                                                                                   Ironclad Performance Wear Corp.
                                                                                   Ironclad Bankruptcy Proceedings
IRONCLAD.22        10/13/2017    53   P   1         425       4.00 $    1,700.00   Further preparation of Memorandum regarding                  48                                    4
                                                                                   Ironclad's causes of action against BDO. [4.0]
                                                                                   Ironclad Performance Wear Corp.
                                                                                   Ironclad Bankruptcy Proceedings
IRONCLAD.22        10/16/2017    53   P   1         425       5.30 $    2,252.50   Finalize Memorandum regarding claims against BDO             55                                   5.3
                                                                                   and final legal research regarding same. [5.3]
                                                                                   Ironclad Performance Wear Corp.
                                                                                   Ironclad Bankruptcy Proceedings
IRONCLAD.22        10/27/2017    53   P   1         425       3.00 $    1,275.00   Legal research regarding faithless servant doctrine and      82                                    3
                                                                                   forfeiting of stock options. [3.0]
                                                                                   Ironclad Performance Wear Corp.
                                                                                   Ironclad Bankruptcy Proceedings

Total for Timekeeper 53                       Billable       19.60 $    8,330.00   Neil Elan                                                                                         19.6
                                                                                                                                                                                  $ 8,330.00

                                                                  GRAND TOTALS

                                              Billable      145.30 $   77,990.50                                                                         91.3           17            22           15
                                              Non-billabl     1.20 $         -
                                              Total         146.50 $   77,990.50                                                                     $   54,714.00   $ 4,250.00   $ 9,734.00   $   9,292.50
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                                                                              Stubbs Alderton & Markiles, LLP

                   Trans             H Tcode/                   Hours
Client             Date          Tmk P Task Code   Rate         to Bill       Amount                                                                         Ref #        Corp/Securities   IP     Litigation   Misc. Bankruptcy

Timekeeper 1 Scott Alderton
IRONCLAD.22        11/06/2017    1   P    1               650             0.60 $         390.00    Attend Board call.                                            140           0.60
                                                                                                   Ironclad Performance Wear Corp.
                                                                                                   Ironclad Bankruptcy Proceedings
IRONCLAD.22        11/07/2017    1   P    1               650             0.90 $         585.00    Conference call with BK counsel to review Asset               141           0.90
                                                                                                   Purchase Agreement issues and closing schedule.
                                                                                                   Ironclad Performance Wear Corp.
                                                                                                   Ironclad Bankruptcy Proceedings
IRONCLAD.22        11/08/2017    1   P    1               650             0.20 $         130.00    Review emails and reply regarding Skadden fee issues.         142                                                 0.20
                                                                                                   Ironclad Performance Wear Corp.
                                                                                                   Ironclad Bankruptcy Proceedings
IRONCLAD.22        11/08/2017    1   P    1               650             0.30 $         195.00    Review and attention to hiring letter in Canada and US.       143           0.30
                                                                                                   Ironclad Performance Wear Corp.
                                                                                                   Ironclad Bankruptcy Proceedings
IRONCLAD.22        11/09/2017    1   P    1               650             0.50 $         325.00    Telephone call with Mr. DiGregorio and follow up              144           0.50
                                                                                                   regarding D&O claim.
                                                                                                   Ironclad Performance Wear Corp.
                                                                                                   Ironclad Bankruptcy Proceedings
IRONCLAD.22        11/09/2017    1   P    1               650             0.70 $         455.00    Attention of review of 8K issues and subsequent               145           0.70
                                                                                                   discussions of same.
                                                                                                   Ironclad Performance Wear Corp.
                                                                                                   Ironclad Bankruptcy Proceedings
IRONCLAD.22        11/13/2017    1   P    1               650             1.00 $         650.00    Review closing documents and status issues with Ms.           153           1.00
                                                                                                   Laffey.
                                                                                                   Ironclad Performance Wear Corp.
                                                                                                   Ironclad Bankruptcy Proceedings
IRONCLAD.22        11/13/2017    1   P    1               650             0.30 $         195.00    Telephone call with Mr. Bender regarding resolution of        154           0.30
                                                                                                   closing issues.
                                                                                                   Ironclad Performance Wear Corp.
                                                                                                   Ironclad Bankruptcy Proceedings
IRONCLAD.22        11/14/2017    1   P    1               650             0.40 $         260.00    Review No Action response and reply to questions from         155           0.40
                                                                                                   board.
                                                                                                   Ironclad Performance Wear Corp.
                                                                                                   Ironclad Bankruptcy Proceedings
IRONCLAD.22        11/14/2017    1   P    1               650             0.40 $         260.00    Review 8K.                                                    156           0.40
                                                                                                   Ironclad Performance Wear Corp.
                                                                                                   Ironclad Bankruptcy Proceedings
IRONCLAD.22        11/15/2017    1   P    1               650             0.70 $         455.00    Telephone call with QBE regarding coverage claim              157           0.70
                                                                                                   under D&O Policy.
                                                                                                   Ironclad Performance Wear Corp.
                                                                                                   Ironclad Bankruptcy Proceedings

Total for Timekeeper 1                             Billable               6.00 $       3,900.00    Scott Alderton                                                              5.80                                  0.20
                                                                                                                                                                          $     3,770.00                        $       130.00

Timekeeper 16 Louis Wharton
IRONCLAD.22       11/01/2017     #   P    1               600             1.40 $         840.00    Review and revise Form 8-K in response to                         83         1                                     0.4
                                                                                                   correspondence regarding same. [1.0] Review revisions
                                                                                                   to Sale Order. [0.4]
                                                                                                   Ironclad Performance Wear Corp.
                                                                                                   Ironclad Bankruptcy Proceedings
IRONCLAD.22        11/03/2017    #   P    1               600             0.80 $         480.00    Review correspondence regarding BBI Asset Purchase                84        0.8
                                                                                                   Agreement and Sale Order. [0.8]
                                                                                                   Ironclad Performance Wear Corp.
                                                                                                   Ironclad Bankruptcy Proceedings
IRONCLAD.22        11/06/2017    #   P    1               600             1.00 $         600.00    Telephone conference with Board and Skadden                       86         1
                                                                                                   regarding Section 10A matters and representation. [1.0]
                                                                                                   Ironclad Performance Wear Corp.
                                                                                                   Ironclad Bankruptcy Proceedings
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IRONCLAD.22   11/07/2017    #   P   1    600   2.90 $   1,740.00   Continue drafting Form 8-K. [1.2] Correspond with           88   2.90
                                                                   working group regarding same. [0.2] Telephone
                                                                   conference with Messrs. Bender and Alderton and Ms.
                                                                   Kim regarding closing items for asset sale transaction.
                                                                   [0.5] Revise Form 8-K and coordinate EDGAR
                                                                   processing. [1.0]
                                                                   Ironclad Performance Wear Corp.
                                                                   Ironclad Bankruptcy Proceedings
IRONCLAD.22   11/08/2017    #   P   1    600   2.10 $   1,260.00   Review and revise termination letters and releases for     104   2.10
                                                                   Texas and California employees. [1.6] Review and revise
                                                                   Trademark Assignment, Patent Assignment, Copyright
                                                                   Assignment and Bill of Sale. [0.5]
                                                                   Ironclad Performance Wear Corp.
                                                                   Ironclad Bankruptcy Proceedings
IRONCLAD.22   11/09/2017    #   P   1    600   0.70 $    420.00    Review corporate statutes regarding impact of              106   0.70
                                                                   bankruptcy proceeding. [0.2]. Telephone conferences
                                                                   with and correspondence to FCC, LLC and Wells Fargo
                                                                   Century, Inc. regarding lien releases. [0.5]
                                                                   Ironclad Performance Wear Corp.
                                                                   Ironclad Bankruptcy Proceedings
IRONCLAD.22   11/10/2017    #   P   1    600   5.60 $   3,360.00   Telephone conference with FINRA regarding notice of        118   5.4           0.2
                                                                   action for name change and bankruptcy. Research
                                                                   regarding same. [0.4]. Review correspondence
                                                                   regarding emergency hearing to effectuate name
                                                                   change. [0.2] Telephone conference with Mr. Bloomer
                                                                   regarding option matters. [0.2] Telephone calls to FCC,
                                                                   LLC and Wells Fargo Century, Inc. regarding lien
                                                                   releases. [0.3] Review and revise name change
                                                                   amendments. [0.2] Correspond with Mr. Anglin from
                                                                   Wells Fargo regarding lien release. [0.3] Review and
                                                                   compile information responsive to FINRA Issuer
                                                                   Company Related Action Notification. [2.7] Revise letter
                                                                   to Securities and Exchange Commission seeking limited
                                                                   filing relief. [1.3]
                                                                   Ironclad Performance Wear Corp.
                                                                   Ironclad Bankruptcy Proceedings
IRONCLAD.22   11/13/2017    #   P   1    600   5.20 $   3,120.00   Telephone conferences with and correspondence to           127   4.6           0.6
                                                                   OTC Markets Group, the Financial Industry Regulatory
                                                                   Authority and the CUSIP Global Services regarding
                                                                   name change. [1.5] Review and provide comments to
                                                                   emergency name change motion. [0.6] Review Asset
                                                                   Purchase Agreement and Non-Disclosure Agreements in
                                                                   connection with assignment of same and other closing
                                                                   items. [1.5] Telephone conference with working group
                                                                   regarding closing asset sale transaction. [1.0] Review
                                                                   and provide comments to First Amendment to Asset
                                                                   Purchase Agreement. [0.4] Review and respond to
                                                                   correspondence regarding option exercises. [0.2]
                                                                   Ironclad Performance Wear Corp.
                                                                   Ironclad Bankruptcy Proceedings
IRONCLAD.22   11/15/2017    #   P   1    600   4.20 $   2,520.00   Attend hearing regarding emergency motion on name          147   0.8           3.4
                                                                   change and other calendared matters. [3.4] Correspond
                                                                   with management and Board of Directors regarding
                                                                   revisions to Form 8-K; revise same. [0.3] Correspond
                                                                   with working group regarding Second Amendment to
                                                                   Asset Purchase Agreement; review and provide
                                                                   comments to same. [0.5]
                                                                   Ironclad Performance Wear Corp.
                                                                   Ironclad Bankruptcy Proceedings
IRONCLAD.22   11/16/2017    #   P   1    600   1.40 $    840.00    Correspond with FINRA and CUSIP Global Services            149   1.40
                                                                   regarding name change amendments. [0.5] Review and
                                                                   respond to correspondence related to effectuating
                                                                   Nevada filing. [0.5] Review and revise Form 8-K
                                                                   regarding asset sale transaction. [0.4]
                                                                   Ironclad Performance Wear Corp.
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                                                                                    Ironclad Bankruptcy Proceedings
IRONCLAD.22        11/17/2017         #   P   1         600    1.40 $     840.00    Correspond with FINRA and working group regarding             158       1.40
                                                                                    effectiveness of FINRA name change. [0.5] Finalize and
                                                                                    file Form 8-K. [0.4] Review and respond to
                                                                                    correspondence regarding Nevada amendment filing.
                                                                                    [0.2] Draft instruction letter to transfer agent regarding
                                                                                    option exercises. [0.3]
                                                                                    Ironclad Performance Wear Corp.
                                                                                    Ironclad Bankruptcy Proceedings

Total for Timekeeper 16                           Billable    26.70 $   16,020.00   Louis Wharton                                                           22.1                   4.6
                                                                                                                                                        $   13,260.00          $    2,760.00

Timekeeper 24 Christine Morigi
IRONCLAD.22        11/08/2017         #   P   1         250    2.50 $     625.00    Review Canadian termination letter. [.5] Research and         125       2.50
                                                                                    revise for California and Texas employees. [1.5]
                                                                                    Conferences with L. Wharton regarding same. [.5]
                                                                                    Ironclad Performance Wear Corp.
                                                                                    Ironclad Bankruptcy Proceedings
IRONCLAD.22        11/10/2017         #   P   1         250    1.50 $     375.00    Research regarding Texas vacation maximums,                   124       1.50
                                                                                    rollovers, policy requirements. [.5] Telephone call to
                                                                                    Labor Commissioner. [.5] Prepare email to Matt
                                                                                    regarding policies in place for target employee. [.5]
                                                                                    Ironclad Performance Wear Corp.
                                                                                    Ironclad Bankruptcy Proceedings

Total for Timekeeper 24                           Billable     4.00 $    1,000.00   Christine Morigi                                                        4.00
                                                                                                                                                        $    1,000.00

Timekeeper 27 Kelly Siobhan Laffey
IRONCLAD.22        11/08/2017         #   P   1         460    5.20 $    2,392.00   Draft Bill of Sale and Assignment of Rights Agreement.        129       5.20
                                                                                    [0.8] Draft Trademark Assignment Agreement. [0.8] Draft
                                                                                    Patent Assignment Agreement. [0.8] Draft Trademark
                                                                                    Assignment Agreement. [0.8] Draft Sellers Closing
                                                                                    Certificate. [0.4] Draft certificates of non-foreign status
                                                                                    for each seller. [0.5]. Draft W-9 certificates. [0.5]
                                                                                    Research changing the corporate name without
                                                                                    obtaining board and shareholder approval. [0.6]
                                                                                    Ironclad Performance Wear Corp.
                                                                                    Ironclad Bankruptcy Proceedings
IRONCLAD.22        11/09/2017         #   P   1         460    2.60 $    1,196.00   Draft form of Consent to Assignment of Rights under           130       2.60
                                                                                    Nondisclosure Agreements [1.2] Revise closing
                                                                                    documents per comments from bankruptcy counsel and
                                                                                    buyer's counsel [1.4]
                                                                                    Ironclad Performance Wear Corp.
                                                                                    Ironclad Bankruptcy Proceedings
IRONCLAD.22        11/10/2017         #   P   1         460    4.50 $    2,070.00   Finalize closing documents in connection with Asset           131       4.50
                                                                                    Sale. [1.0] Research notification required for FINRA in
                                                                                    connection with name change and bankruptcy [1.0]
                                                                                    Prepare notification to FINRA in connection with name
                                                                                    change. [2.5]
                                                                                    Ironclad Performance Wear Corp.
                                                                                    Ironclad Bankruptcy Proceedings
IRONCLAD.22        11/12/2017         #   P   1         460    0.20 $      92.00    Finalize intellectual property assignment schedules. [0.2]    132       0.20
                                                                                    Ironclad Performance Wear Corp.
                                                                                    Ironclad Bankruptcy Proceedings
IRONCLAD.22        11/13/2017         #   P   1         460    5.20 $    2,392.00   Telephone conference with working group regarding             150       5.20
                                                                                    closing asset sale transaction. [1.0] Finalize closing
                                                                                    documents in connection with Asset Sale. [1.0] Prepare
                                                                                    signature pages to Asset Purchase Agreement and all
                                                                                    closing documents. [0.7] Draft First Amendment to Asset
                                                                                    Purchase Agreement. [1.3] Prepare name change filings
                                                                                    and coordinate process for secretary of state of
                                                                                    California and Nevada. [1.2]
                                                                                    Ironclad Performance Wear Corp.
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                                                                               Ironclad Bankruptcy Proceedings
IRONCLAD.22        11/14/2017    #   P    1         460    1.60 $    736.00    Assemble fully executed documents in connection with          151       1.60
                                                                               closing of Asset Sale. [0.8] Correspondence with buyer's
                                                                               counsel and bankruptcy counsel to coordinate closing.
                                                                               [0.8]
                                                                               Ironclad Performance Wear Corp.
                                                                               Ironclad Bankruptcy Proceedings
IRONCLAD.22        11/15/2017    #   P    1         460    0.90 $    414.00    Obtain signatures to name change filings and prepare          152       0.90
                                                                               for filing. [0.3] Draft Second Amendment to Asset
                                                                               Purchase Agreement. [0.6]
                                                                               Ironclad Performance Wear Corp.
                                                                               Ironclad Bankruptcy Proceedings
IRONCLAD.22        11/16/2017    #   P    1         460    1.30 $    598.00    Revise name change filings per comments from the              159       1.30
                                                                               secretary of state of Nevada and California. [0.7] Finalize
                                                                               Second Amendment to Asset Purchase Agreement and
                                                                               coordinate execution of same. [0.6]
                                                                               Ironclad Performance Wear Corp.
                                                                               Ironclad Bankruptcy Proceedings

Total for Timekeeper 27                       Billable    21.50 $   9,890.00   Kelly Siobhan Laffey                                                    21.50
                                                                                                                                                   $    9,890.00

Timekeeper 31 Tami C. Solomon
IRONCLAD.22       11/02/2017     #   P    1         250    0.40 $    100.00    Prepare for and engage in teleconference with client in       133                   0.40
                                                                               regards to Trademark Appl. No. 22350775 KONG in
                                                                               Class 9 in China [0.2]; provide instruction regarding
                                                                               appeal and non-use cancellation. [0.2]
                                                                               Ironclad Performance Wear Corp.
                                                                               Ironclad Bankruptcy Proceedings
IRONCLAD.22        11/02/2017    #   P   95         250    0.50 $        -     Attention to filing request for an Extension of Time in       134                   0.00
                                                                               which to file a Statement of Use in connection with the
                                                                               pending trademark application for WORKBOOTS FOR
                                                                               YOUR HANDS Serial number 86298262.
                                                                               Ironclad Performance Wear Corp.
                                                                               Ironclad Bankruptcy Proceedings
IRONCLAD.22        11/08/2017    #   P    1         250    0.80 $    200.00    Attention to notice of allowance for VISUAL                   135                   0.80
                                                                               ENGINEERING, IVE, Design 1 and Design 2 in class 09
                                                                               and 25 in Brazil [0.2]; prepare correspondence to client
                                                                               regarding same [0.3] and request instructions for
                                                                               registration fee payment deadline [0.3].
                                                                               Ironclad Performance Wear Corp.
                                                                               Ironclad Bankruptcy Proceedings
IRONCLAD.22        11/08/2017    #   P    1         250    0.30 $     75.00    Attention to NOTICE OF REJECTION in Brazil for the            136                   0.30
                                                                               Glove Design Trade Mark Application N 910163995 and
                                                                               Trade Mark Application N 910163995 [0.2]; Prepare
                                                                               correspondence to client with deadline to appeal and
                                                                               request instructions for same [0.1].
                                                                               Ironclad Performance Wear Corp.
                                                                               Ironclad Bankruptcy Proceedings
IRONCLAD.22        11/08/2017    #   P    1         250    0.50 $    125.00    Update the Ironclad worldwide trademarks status report.       137                   0.50
                                                                               Ironclad Performance Wear Corp.
                                                                               Ironclad Bankruptcy Proceedings
IRONCLAD.22        11/09/2017    #   P    1         250    2.80 $    700.00    Attention to Ironclad closing documents; Search and           138                   2.80
                                                                               prepare lists of Trademarks [1.5] and Copyrights [1.0];
                                                                               Coordinate patent list [0.3].
                                                                               Ironclad Performance Wear Corp.
                                                                               Ironclad Bankruptcy Proceedings
IRONCLAD.22        11/10/2017    #   P    1         250    3.50 $    875.00    Attention to Ironclad closing documents; Search and           139                   3.50
                                                                               prepare lists of Trademarks [2.0] and Copyrights [1.3];
                                                                               Coordinate patent list and IP charts for Ironclad [0.2].
                                                                               Ironclad Performance Wear Corp.
                                                                               Ironclad Bankruptcy Proceedings
IRONCLAD.22        11/13/2017    #   P    1         250    0.90 $    225.00    Attention to TS1 trademark Registration number                160                   0.90
                                                                               4433852 [0.1]; Research correcting the state of
                                                                               incorporation [0.8].
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                                                                                    Ironclad Performance Wear Corp.
                                                                                    Ironclad Bankruptcy Proceedings
IRONCLAD.22        11/13/2017       #   P    1         250      0.80 $    200.00    Prepare list of Foreign Counsel in connection with           161                      0.80
                                                                                    Trademarks for closing documents.[0.8]
                                                                                    Ironclad Performance Wear Corp.
                                                                                    Ironclad Bankruptcy Proceedings
IRONCLAD.22        11/14/2017       #   P   95         250      1.10 $        -     Draft and file Section 7 correction form for TS1             162                       0
                                                                                    Registration No. 4433852 to change Florida state
                                                                                    organized under to California. [1.2]
                                                                                    Ironclad Performance Wear Corp.
                                                                                    Ironclad Bankruptcy Proceedings
IRONCLAD.22        11/14/2017       #   P    1         250      0.80 $    200.00    Attention to Ironclad's worldwide Copyrights, Patents and    163                      0.80
                                                                                    Trademarks [0.1]; coordinate and revise list of IP
                                                                                    contacts [0.7].
                                                                                    Ironclad Performance Wear Corp.
                                                                                    Ironclad Bankruptcy Proceedings

Total for Timekeeper 31                          Billable      10.80 $   2,700.00   Tami C. Solomon                                                                      10.80
                                                 Non-billabl    1.60 $        -
                                                 Total         12.40 $   2,700.00
                                                                                                                                                                       $ 2,700.00

Timekeeper 38 Stephen A. Carroll
IRONCLAD.22       11/07/2017        #   P    1         250      0.10 $     25.00    Attention to certified documents received from the CA         87       0.10
                                                                                    Secretary of State regarding (CA) Ironclad Performance
                                                                                    Wear Corporation. [.1]
                                                                                    Ironclad Performance Wear Corp.
                                                                                    Ironclad Bankruptcy Proceedings
IRONCLAD.22        11/08/2017       #   P    1         250      0.40 $    100.00    Attention to entity due diligence matters. [.3] Emails       105       0.40
                                                                                    from/to Kelly Laffey regarding same. [.1]
                                                                                    Ironclad Performance Wear Corp.
                                                                                    Ironclad Bankruptcy Proceedings
IRONCLAD.22        11/10/2017       #   P    1         250      0.30 $     75.00    Attention to research regarding name change filings in       126       0.30
                                                                                    CA and NV. [.2] Emails to/from Telos Legal Corp
                                                                                    regarding same. [.1]
                                                                                    Ironclad Performance Wear Corp.
                                                                                    Ironclad Bankruptcy Proceedings
IRONCLAD.22        11/13/2017       #   P    1         250      0.20 $     50.00    Attention to entity due diligence/confirm entity status of   128       0.20
                                                                                    Ironclad in CA and NV. [.2]
                                                                                    Ironclad Performance Wear Corp.
                                                                                    Ironclad Bankruptcy Proceedings
IRONCLAD.22        11/16/2017       #   P    1         250      1.30 $    325.00    Arrange for the filing of name change amendments with        148       1.30
                                                                                    each of the NV and CA Secretaries of State. [.5] Multiple
                                                                                    calls and emails from/to Telos Legal Corp regarding
                                                                                    same. [.8]
                                                                                    Ironclad Performance Wear Corp.
                                                                                    Ironclad Bankruptcy Proceedings

Total for Timekeeper 38                          Billable       2.30 $    575.00    Stephen A. Carroll                                                     2.30
                                                                                                                                                       $      575.00

Timekeeper 44 Grace H. Kim
IRONCLAD.22       11/08/2017        #   P    1         250      0.20 $     50.00    Attention to correspondence regarding closing checklist.     146       0.20
                                                                                    [.2]
                                                                                    Ironclad Performance Wear Corp.
                                                                                    Ironclad Bankruptcy Proceedings

Total for Timekeeper 44                          Billable       0.20 $     50.00    Grace H. Kim                                                           0.20
                                                                                                                                                       $       50.00

Timekeeper 53 Neil Elan
IRONCLAD.22        11/02/2017       #   P    1         425      1.50 $    637.50    Review and finalize Memorandum regarding accounting           85                                1.50
                                                                                    malpractice and breach of contract against BDO. [1.5]
                                                                                    Ironclad Performance Wear Corp.
                                                                                    Ironclad Bankruptcy Proceedings
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Total for Timekeeper 53              Billable       1.50 $      637.50    Neil Elan                                               1.50
                                                                                                                              $    637.50

                                                        GRAND TOTALS

                                     Billable      73.00 $    34,772.50                              55.90         10.80          1.50          4.80
                                     Non-billabl    1.60 $          -
                                     Total         74.60 $    34,772.50                          $   28,545.00   $ 2,700.00   $    637.50   $    2,890.00
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Date: 11/21/2017                                                              Detail Cost Transaction File List                                                        Page: 1
                                                                              Stubbs Alderton & Markiles, LLP

                   Trans                         H   Tcode/
Client             Date               Tmkr       P   Task Code     Rate       Amount                                                                                   Ref #

Statement Date mm/dd/yyyy
IRONCLAD.22      10/23/2017                  1   P                            $           30.17    Service Fee - Federal Express (Delivery to QBE Insurance Manager)           10
                                                                                                   Ironclad Performance Wear Corp.
                                                                                                   Ironclad Bankruptcy Proceedings
IRONCLAD.22        10/23/2017                1   P                            $           27.18    Service Fee - Federal Express (Delivery to Todd Dillon)                     11
                                                                                                   Ironclad Performance Wear Corp.
                                                                                                   Ironclad Bankruptcy Proceedings

Total for Statement Date mm/dd/yyyy                                Billable   $           57.35

Statement Date 09/30/2017
IRONCLAD.15        09/13/2017                1   A                            $          436.68    Service Fee - BLG (IVE DESIGN for Ironclad Invoice IP711963)        ARCH
                                                                                                   Ironclad Performance Wear Corp.
                                                                                                   Trademark and Counterfeiting
IRONCLAD.15        09/13/2017                1   A                            $          436.68    Service Fee - BLG (IVE for IRONCLAD Invoice IP711964)               ARCH
                                                                                                   Ironclad Performance Wear Corp.
                                                                                                   Trademark and Counterfeiting
IRONCLAD.15        09/14/2017                1   A                            $          330.00    Service Fee - R.K. DEWAN & CO. (IRONCLAD & KONG (word) in           ARCH
                                                                                                   classes 9,28 invoice M/17/7194)
                                                                                                   Ironclad Performance Wear Corp.
                                                                                                   Trademark and Counterfeiting
IRONCLAD.15        09/20/2017                1   A                            $          694.40    Service Fee - Rouse & Company (IRONCLAD in class 9 Invoice          ARCH
                                                                                                   10780465)
                                                                                                   Ironclad Performance Wear Corp.
                                                                                                   Trademark and Counterfeiting
IRONCLAD.15        09/20/2017                1   A                            $          338.00    Service Fee - Rouse & Company (KONG in class 9 Invoice 10780464)    ARCH
                                                                                                   Ironclad Performance Wear Corp.
                                                                                                   Trademark and Counterfeiting
IRONCLAD.01        09/30/2017                1   A                            $           82.41    Service Fee - Thomson Reuters - West (West Law Research August      ARCH
                                                                                                   2017)
                                                                                                   Ironclad Performance Wear Corp.
                                                                                                   General
IRONCLAD.15        09/30/2017                1   A                            $          853.21    Service Fee - Dannemann Siemsen Advogados (KONG TM in class 25      ARCH
                                                                                                   Invoice 1016499)
                                                                                                   Ironclad Performance Wear Corp.
                                                                                                   Trademark and Counterfeiting
IRONCLAD.15        09/30/2017                1   A                            $          853.21    Service Fee - Dannemann Siemsen Advogados (IRONCLAD in class        ARCH
                                                                                                   25 Invoice 1016500)
                                                                                                   Ironclad Performance Wear Corp.
                                                                                                   Trademark and Counterfeiting

Total for Statement Date 09/30/2017                                Billable   $        4,139.29
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IRONCLAD.22        10/23/2017         1   A                     $      130.00    Service Fee - R.K. DEWAN & CO. (IRONCLAD in class 23 Invoice       ARCH
                                                                                 M/17/8180)
                                                                                 Ironclad Performance Wear Corp.
                                                                                 Ironclad Bankruptcy Proceedings
IRONCLAD.22        10/24/2017         1   A                     $      818.00    Service Fee - Rouse & Company (KONG in class 25 Invoice            ARCH
                                                                                 10786089)
                                                                                 Ironclad Performance Wear Corp.
                                                                                 Ironclad Bankruptcy Proceedings
IRONCLAD.22        10/24/2017         1   A                     $      226.94    Service Fee - Rouse & Company (IRONCLAD in class 9 Invoice         ARCH
                                                                                 10786087)
                                                                                 Ironclad Performance Wear Corp.
                                                                                 Ironclad Bankruptcy Proceedings
IRONCLAD.22        10/24/2017         1   A                     $      181.19    Service Fee - Rouse & Company (IRONCLAD & Device in class 9        ARCH
                                                                                 Invoice 10786088)
                                                                                 Ironclad Performance Wear Corp.
                                                                                 Ironclad Bankruptcy Proceedings
IRONCLAD.22        10/26/2017         1   A                     $      215.00    Service Fee - Telos Legal Corp. (NV SOS certified copies Invoice   ARCH
                                                                                 102617611LA)
                                                                                 Ironclad Performance Wear Corp.
                                                                                 Ironclad Bankruptcy Proceedings
IRONCLAD.22        10/30/2017         1   A                     $      325.00    Service Fee - U.S. Patent & Trade Office (VISUAL ENGINEERING in    ARCH
                                                                                 class 25 serial number 86737038)
                                                                                 Ironclad Performance Wear Corp.
                                                                                 Ironclad Bankruptcy Proceedings
IRONCLAD.22        10/31/2017         1   A                     $      125.00    Service Fee - U.S. Patent & Trade Office (WORKBOOTS FOR YOUR       ARCH
                                                                                 HANDS Serial number 86298262)
                                                                                 Ironclad Performance Wear Corp.
                                                                                 Ironclad Bankruptcy Proceedings

Total for Statement Date 10/31/2017                  Billable   $     2,021.13

                                                                GRAND TOTALS

                                                     Billable   $     6,217.77
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                                                                    Stubbs Alderton & Markiles, LLP

                   Trans                   H Tcode/
Client             Date               Tmkr P Task Code   Rate       Amount                                                                               Ref #

Statement Date mm/dd/yyyy
IRONCLAD.22       11/07/2017            1   P                       $          130.00    Service Fee - R.K. DEWAN & CO. (KONG word in class 25 Invoice           6
                                                                                         17/8717)
                                                                                         Ironclad Performance Wear Corp.
                                                                                         Ironclad Bankruptcy Proceedings
IRONCLAD.22        11/07/2017           1   P                       $          137.00    Service Fee - Telos Legal Corp. (CA SOS filing fees Invoice             7
                                                                                         103117688LA)
                                                                                         Ironclad Performance Wear Corp.
                                                                                         Ironclad Bankruptcy Proceedings

Total for Statement Date mm/dd/yyyy                      Billable   $          267.00

                                                                    GRAND TOTALS

                                                         Billable   $          267.00
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PRACTICE AREAS
BUSINESS LITIGATION

                                                                                                         Group Chairperson
                                                                                                         MICHAEL SHERMAN

                                                                                                         msherman@stubbsalderton.com


                                                                                                         The Firm’s business litigators have
                                                                                                         significant depth and breadth of resources
                                                                                                         and a detailed knowledge of clients’
                                                                                                         industries and business concerns. As trusted
                                                                                                         counselors to middle market businesses, and
                                                                                                         particularly early stage, growth companies
                                                                                                         and entrepreneurs, we understand that how
                                                                                                         a company or entrepreneur handles dispute
                                                                                                         risk oftentimes is the difference between
                                                                                                         business success and failure.




                           LOS ANGELES                                                  SANTA MONICA
                 15260 Ventura Boulevard, 20th Floor                            1453 3rd Street Promenade, Suite
                     Sherman Oaks, CA 91403                                       300 Santa Monica, CA 90401
                        Phone: 818.444.4500                                          Phone: 310.746.9800




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    PRACTICE AREAS
    BUSINESS LITIGATION
    CONTINUED




    Litigation is often about efficiently analyzing complex legal                                                       Our business litigators have represented household
    and business challenges, and understanding litigation risk.                                                         name     Fortune 500 companies, middle market companies,
    All too often attorneys think and express themselves                                                                and emerging growth companies and entrepreneurs. Our
    in terms of “cause and effect” or “action/reaction.”                                                                business litigators along with the other attorneys at the
    While our business       litigators have impressive records as                                                      Firm seek to forge long term relationships with our clients
    trial lawyers, we additionally focus on achieving creative,                                                         throughout their evolutionary path. We deliver efficiency and
    efficient, cost-effective solutions for our clients.                                                                value to every client we serve through a well-defined
                                                                                                                        budget and clear communication about their case. Team
    Of course, there are times that disputes cannot be                                                                  members include:
    quickly resolved, and our clients face the prospect of a
    trial or an arbitration that may “go all the way”. Our
    attorneys have deep pre-trial, trial and alternative
    dispute resolution experience in connection with both
    state and federal court actions Our attorneys can take                                                              -   MICHAEL SHERMAN
    tough cases to trial or arbitration, and win.

                                                                                                                        - HARRIS COHEN

                                                                                                                        - BARAK KAMELGARD
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PRACTICE AREAS
CORPORATE & BUSINESS MATTERS


                                                                                                We provide a broad range of services
                                                                                                relating to corporate and business
                                                                                                matters, including corporate and other
                                                                                                entity formation, joint venture and
                                                                                                strategic partnership transactions, stock
                                                                                                incentive plans, executive and other
                                                                                                employment agreements, and commercial
                                                                                                and business agreements. The Firm acts to
                                                                                                assess clients’ business needs and develop
                                                                                                innovative legal strategies to help them
                                                                                                achieve their goals, directly undertaking those
                                                                                                matters for which the Firm has substantial
                                                                                                expertise, and identifying and managing
                                                                                                the most appropriate legal resources to
                                                                                                handle specialty areas outside of the Firm’s
                                                                                                core discplines.




                          LOS ANGELES                                                 SANTA MONICA
                15260 Ventura Boulevard, 20th Floor                         1453 3rd Street Promenade, Suite 300
                     Sherman Oaks, CA 91403                                        Santa Monica, CA 90401
                       Phone: 818.444.4500                                          Phone: 310.746.9800
                        Fax: 818.444.4520                                             Fax: 310.746.9820


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PRACTICE AREAS
PUBLIC SECURITIES PRACTICE



                                                                                               Group Chairperson
                                                                                               JOHN MCILVERY
                                                                                                   jmcilvery@stubbsalderton.com

                                                                                               We cover a wide-range of matters for
                                                                                               existing public companies and underwriters,
                                                                                               as well as private companies contemplating
                                                                                               “going public.”

                                                                                                        PUBLIC SECURITIES COMPLIANCE

                                                                                               -        CORPORATE GOVERNANCE COUNSELING

                                                                                                        ALTERNATIVE PUBLIC OFFERINGS

                                                                                              -       SEC FIXED FEE




                          LOS ANGELES                                                   SANTA MONICA
                15260 Ventura Boulevard,20th Floor                              1453 3rd Street Promenade, Suite
                    Sherman Oaks, CA 91403                                        300 Santa Monica, CA 90401
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    PRACTICE AREAS
    PUBLIC SECURITIES PRACTICE


    Corporate Governance Counseling                                                                                     -   Advising    on   stock   exchange   requirements,   monitoring
    CONTINUED                                                                                                               administrative proceedings related to SEC and
                                                                                                                            Financial Industry Regulatory Authority (FINRA)
    Our public securities attorneys provide the following                                                                   enforcement actions, and tracking significant legislative
    corporate governance services:                                                                                          developments and judicial decisions affecting enforcement
                                                                                                                            of federal securities laws and state corporate laws.
    -   Advising clients on corporate governance and disclosure
                                                                                                                        - Advising privately held companies pursuing public
        requirements of the Securities and Exchange                                                                     offerings and exit strategies on compliance with state
        Commission (SEC) and the relevant stock exchanges.                                                              corporate law, as well as SEC, SOX, and national stock
                                                                                                                        exchange requirements.
    -   Monitoring the rule-making activities and actions of the SEC,
        the Financial Accounting Standards Board (FASB) and
        Public Company Accounting Oversight Board (PCAOB),
        and counseling clients on the implications of emerging
        securities laws and accounting and auditing standards.

    -   Advising on fiduciary duties of directors and special and

        independent committees, including with respect to
        related- party transactions, executive compensation,
        acquisition proposals, and other transaction that
        might give rise to potential conflicts of interest.

    -   Advising clients on SEC reviews, enforcement actions, SEC

        requirements for securities offerings and
        corporate disclosures, and Sarbanes-Oxley (SOX)-related
        issues.
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    PRACTICE AREAS
    PUBLIC SECURITIES PRACTICE


    Corporate Governance Counseling                                                                                     -   Advising    on   stock   exchange   requirements,   monitoring
    CONTINUED                                                                                                               administrative proceedings related to SEC and
    Our public securities attorneys provide the following                                                                   Financial Industry Regulatory Authority (FINRA)
    corporate governance services:                                                                                          enforcement actions, and tracking significant legislative
                                                                                                                            developments and judicial decisions affecting enforcement
    -   Advising clients on corporate governance and disclosure                                                             of federal securities laws and state corporate laws.

        requirements of the Securities and Exchange                                                                     - Advising privately held companies pursuing public
        Commission (SEC) and the relevant stock exchanges.                                                              offerings and exit strategies on compliance with state
    -   Monitoring the rule-making activities and actions of the SEC,                                                   corporate law, as well as SEC, SOX, and national stock
                                                                                                                        exchange requirements.
        the Financial Accounting Standards Board (FASB) and
        Public Company Accounting Oversight Board
        (PCAOB), and counseling clients on the implications of
        emerging securities laws and accounting and auditing
        standards.
    -   Advising on fiduciary duties of directors and special and

        independent committees, including with respect to
        related- party transactions, executive compensation,
        acquisition proposals, and other transaction that
        might give rise to potential conflicts of interest.
    -   Advising clients on SEC reviews, enforcement actions, SEC

        requirements for securities offerings and
        corporate disclosures, and Sarbanes-Oxley (SOX)-related
        issues.
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    PRACTICE AREAS
    PUBLIC SECURITIES PRACTICE


    Alternative Public Offerings                                                                                         Our public securities attorneys provide the following services
                                                                                                                         in connection with reverse merger transactions:
    We are a leader in alternative capital raising techniques,                                                           - Assisting clients in locating an existing public reporting
    such as registered direct offerings, PIPEs, and reverse                                                              “shell” company, that has little or no assets or business, is
    mergers into public “shells”, and we have been in the                                                                current in its periodic reporting obligations with the SEC, has
    forefront of this rapidly developing area. Since early 2001,                                                         no or only limited liabilities that can be confirmed with some
    the market for traditional, firmly underwritten initial                                                              certainty in
    public offerings of micro-cap and small-cap companies in
                                                                                                                         -   due diligence, preferably has common stock quoted on
    the United States has been significantly constrained. There
                                                                                                                             the Over-The-Counter Bulletin Board held by at least 400
    are fewer and fewer underwriters interested in investing
                                                                                                                             shareholders of record, and does not need to first obtain
    the resources to bring micro-cap and small-cap
                                                                                                                             stockholder approval to consummate any aspect of the
    companies to market, which has cut-off what once was a
                                                                                                                             transaction.
    viable financing source for smaller companies. In recent
    years, an alternative to the traditional, firmly                                                                     -   Introducing clients to other professionals with experience
    underwritten initial public offering has emerged. The
                                                                                                                             in reverse merger transactions, including owners and bro-
    “reverse merger” transaction, when coupled with a PIPE
                                                                                                                             kers of shell companies, accounting firms, placement
    financing, allows smaller companies to access a large pool
                                                                                                                             agents, investors, and investor relations firms.
    of capital without the need of an underwriter. While a typical
    transaction still requires the assistance of a “place-ment agent”                                                    -   Conducting due diligence on the shell company, and
    to assist in raising capital, if structured properly, the                                                                restructuring the shell company to the extent
    placement agent is not an “underwriter” under United States                                                              necessary in advance of the transaction.
    securities laws, and thus not subject to the liability that
    has driven many traditional underwriters from the market for                                                         -   Structuring, negotiating and documenting the reverse merger
    micro- cap and small-cap initial public offerings.                                                                       transaction documents, including the acquisition
                                                                                                                             agreement and all ancillary agreements.
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    PRACTICE AREAS
    PUBLIC SECURITIES PRACTICE



    Alternative Public Offerings                                                                                         SEC Fixed Fee
    CONTINUED
                                                                                                                         We offer legal services to existing publicly traded companies
    -   Advising on compliance with securities laws and stock                                                            in connection with SEC regulatory compliance on a monthly
        exchange rules.                                                                                                  “Fixed Fee” basis in lieu of our standard hourly fee
                                                                                                                         arrangements.
    -   Assisting in the preparation and filing of all reports to be
        filed with the SEC in connection with the reverse                                                                Our clients can pick and choose from a suite of services
        merger transaction, including all Section 16 forms,                                                              that they would like us to provide for a Fixed Fee, which often
        Forms 8-K, and Schedules 13D, 14f-1 and 14C.                                                                     includes the following:

    -   Coordinating the responsibilities of management, opposing                                                        -   Exchange Act Reports. We review and comment on Forms

        counsel and the other professionals involved in the                                                                  10-K, Forms 10-Q, Forms 8-K, Forms 3, 4 and 5, and
        process, including independent auditors, promoters and                                                               Schedules 13D and 13G for approved individuals and
        placement agents.                                                                                                    investors. We assist in ensuring that all such Exchange
    -   Structuring, negotiating and documenting of the PIPE                                                                 Act reports are in compliance with applicable SEC rules.

        financing documents, including the securities                                                                    -   Annual Proxy Statements. We prepare a Proxy Statement for
        purchase agreement, registration rights agreement                                                                    the annual meeting of shareholders.
        and all ancillary agreements, and assisting in the
        preparation and filing with the SEC of the resale                                                                -   Routine SEC Communications. We coordinate all routine
        registration statement for the shares sold in the PIPE.
                                                                                                                             communications with the SEC with respect to Exchange
                                                                                                                             Act filings.
                                                                                                                         -   Securities Due Diligence. We review company documents and

                                                                                                                             information to enable comprehensive and accurate
                                                                                                                             disclosure in Exchange Act filings.
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    SEC Fixed Fee                                                                                                         At the beginning of a Fixed Fee representation, we meet
                                                                                                                          with such of the company’s key personnel as are
    CONTINUED
                                                                                                                          designated to review files and agreements for purposes of
    -   Year End Obligations. We monitor and assist in meeting year-                                                      orientation in order to gain a better insight into and
                                                                                                                          understanding of the company and its business, define and
        end disclosure and annual shareholder meeting obligations.                                                        agree upon a satisfactory client service plan, define the
    -   D&O Questionnaires. We prepare and distribute Directors’                                                          scope of our legal representation, and prioritize legal
                                                                                                                          assignments. This orientation process is included within the
        and Officers’ Questionnaires to assist in complying
                                                                                                                          Fixed Fee arrangement, and becomes the basis for
        with disclosure obligations.
                                                                                                                          establishing the amount of the Fixed Fee monthly payment.
    -   Rule 144 Opinions. Upon request, we prepare Rule 144 opinion                                                      We asses this amount annually to make sure the Fixed Fee
                                                                                                                          amount for successive years is commensurate with the
        letters to transfer agents in connection with Rule 144 sales.
                                                                                                                          services provided in the prior year.
    -   Press Release and Reg. FD. We advise with respect to
        company-drafted     press   releases,   and   Regulation
        FD compliance.

    -   Board and Shareholder Meetings. We attend and prepare
        minutes for Shareholder Meetings and quarterly
        Board Meetings.
    -   Coordination with Auditors. We coordinate with accountants

        as to the timing of the preparation of financial statements
        and related financial disclosure.
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PRACTICE AREAS
TRADEMARK &
COPYRIGHT PRACTICE                                                                           Our firm attorneys have more than 30 years
                                                                                             of experience in counseling clients on the
                                                                                             creation of brand identification, registration
                                                                                             and procure-ment of brands and creative
                                                                                             content, as well as the litigation of
                                                                                             disputed matters involving trademarks,
                                                                                             copyrights, unfair competition,         domain
                                                                                             names, websites, rights of publicity and
                                                                                             related claims.

                                                                                                       BRAND DEVELOPMENT

                                                                                                       CONTENT PROTECTION

                                                                                             -         LITIGATION

                                                                                              -    REGISTRATION

                                                                                              -        ENFORCEMENT




                        LOS ANGELES                                                     SANTA MONICA
              15260 Ventura Boulevard, 20th Floor                            1453 3rd Street Promenade, Suite 300
                  Sherman Oaks, CA 91403                                           Santa Monica, CA 90401
                     Phone: 818.444.4500                                             Phone: 310.746.9800


                                                    www.stubbsalderton.com
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    Brand Development                                                                                                   Content Protection
    Our firm attorneys are uniquely positioned to assist                                                                For those in the “Creative Community” content has always
    clients in the development of their brand strategies – from                                                         been viewed as king. Copyright protection is a right
    start-ups to established marketers. Our attorneys have                                                              provided for in the U.S. Constitution. Our attorneys and
    worked in non- legal positions, such as product brand                                                               support staff will work with clients at various stages of the
    management, sales, and advertising, and work with clients in                                                        creative process to insure that their creative output is
    the development of business plans for the establishment,                                                            protected. We work with a diverse community from
    marketing and growth of their intellectual property assets.                                                         advertisers and video producers to musicians, actors,
    Our attorneys and the support staff are prepared to conduct                                                         writers, and fine artists. In addition, we work closely
    strategic audits of existing brands as a precursor to any IP                                                        with our clients to “vet” creative works to determine that they
    asset acquisition or transfer. In addition, we work closely with                                                    do not infringe upon the work of others. The Internet has
    outside experts in the areas of valuation as well as tax-driven                                                     created an enormous marketplace for content and for
    structuring on a domestic and international basis.                                                                  those pirates who would seek to infringe upon the rights of
                                                                                                                        the creators. We develop protection programs including
                                                                                                                        monitoring of the Internet, notice and take-down
                                                                                                                        programs to try to control the amount of content piracy
                                                                                                                        that our clients find on the Internet. The practice group
                                                                                                                        also represents the full range of clients in copyright
                                                                                                                        litigation matters in the federal courts.
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    Litigation                                                                                                        Registration
    Our firm represents clients in the courts throughout                                                              Our firm provides its clients with a complete range
    California and across the United States. Our attorneys                                                            of registration services for the protection of their
    have years of experience in all aspects of intellectual                                                           trade-marks in the United States and around the
    property litigation from development of litigation strategy,                                                      world. Our practice involves not only the
    discovery planning, creation of pleadings through to                                                              development of clearance strategies, but legal
    the conducting of trials. Our litigation clients have                                                             opinions with regard to availability of trademarks for
    represented diverse economic and creative interests                                                               purposes of registration and use. Our lawyers and
    from Fortune 500 companies to individual artists.                                                                 trademark paralegals work with our clients to file
    Litigation matters have included claims of trademark                                                              appropriate applications for trademark protection at
    infringement, copyright infringement, counterfeiting and                                                          the United States Patent & Trademark Office as well as
    piracy, trade dress infringement, unfair competition,                                                             registrations in countries throughout the world. We
    violations of rights of publicity and privacy, licensing                                                          also work with our clients to register their creative
    and merchandising disputes, domain name infringement,                                                             works with the U.S. Copyright Office as well as with
    web site infringement and other Internet-related                                                                  various guilds and other government agencies
    matters, breach of contract,       commercial disputes,                                                           where appropriate. With respect to patent
    business disparagement, business torts, idea submission,                                                          registrations, our firm works with several firms who
    and libel and slander claims.                                                                                     have the expertise in the particular fields of invention,
                                                                                                                      from mechanical to bio-tech, to be certain that our
                                                                                                                      clients’ novel works are protected.
                                                                                                                      Representing clients in inter-partes proceedings
                                                                                                                      before the United States Trademark Trial and Appeal
                                                                                                                      Board. Our attorneys have extensive experience
                                                                                                                      representing clients
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                                                                                                                       searches as a quick preliminary screening
    Registration                                                                                                       mechanism as well as outside professional
    CONTINUED
                                                                                                                       vendors for more comprehensive searches.
    whose registrations are being opposed or who are                                                                   -     Preparing and filing applications to register trademarks
    opposing other applications for trademarks likely to
                                                                                                                       with the United States Patent & Trademark Office, as
    cause confusion to the consuming public. We also
                                                                                                                       well as state authorities, where appropriate. For
    represent both Petitioners and Registrants in
                                                                                                                       example, our attorneys and trained trademark
    cancellation proceedings before the same federal
                                                                                                                       paralegals will engage in the filing of a variety of
    body.
                                                                                                                       trademarks, design marks and logos for goods in
    We offer the following services:
                                                                                                                       services in more than 45 International
    -   Counseling with respect to the selection and clearance                                                         Classifications before the United States Patent
                                                                                                                       and Trademark Office. Our firm also tracks the
    of trademarks, including assignments of                                                                            applications through the registration and beyond
    potentially conflicting trademarks. For example,                                                                   through the use of an in-house trademark database.
    our attorneys worked with a major cable
                                                                                                                       -     Directing   a   network   of   Stubbs   Alderton’s   foreign
    television channel in the selection of the name for
    its new fashion and home- lifestyle cable channel.                                                                 associates in preparing and filing applications
                                                                                                                       to register trademarks worldwide. Our seasoned
    - Counseling with respect to appropriate                                                                           attorneys have developed working relationships
    searching strategies.    For example, often clients                                                                with hundreds of foreign trademark lawyers who
    will select a number of possible marks for use in                                                                  assist our clients in obtaining protection in
    connection with their business. We often assist                                                                    hundreds of countries and territories. As global
    clients in determining the most cost-effective way of                                                              trademark registration programs require substantial
    searching for conflicts and clearing the marks whether                                                             resources to establish, we work with our clients to
    it be for several new film and entertainment                                                                       prioritize those foreign jurisdictions with respect to
    companies or an air cargo carrier. We utilize both                                                                 business activity, future market growth, and
    in-house generated on-line                                                                                         likelihood of infringing activity.
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    Enforcement                                                                                                         Among our enforcement activities are:
                                                                                                                        -   Obtaining and executing nationwide ex parte seizure orders;
    Our attorneys have been leaders in conceiving and
    implement-ing programs to protect client intellectual                                                               and other unique remedies such as renewable
    property rights. They are nationally recognized for their                                                           orders, asset-freezing orders, and civil contempt orders.
    particular efforts in battling counterfeiting and piracy in                                                         -   Obtaining     and      executing      ex   parte     seizure   orders
    the United States and overseas. We have implemented                                                                 simultaneously at numerous locations.
    these important enforcement programs, domestically,                                                                 -   For “events” such as the release of blockbuster films or
    internationally, and online for a wide variety of clients                                                           television shows, music concerts, and major sporting
    and with respect to numerous properties-from movies and                                                             events (e.g. the Rose Bowl game, the Major League
    sports teams and trade associations, to luxury goods                                                                Baseball All-Star Game and playoff games),
    from the world’s most famous designers, to consumer                                                                 combating infringement through nationwide street
    and personal care products from manufacturers around                                                                sweeps by investigators, criminal enforcement, U.S.
    the world. Our attorneys work closely with our clients to                                                           Customs enforcement, nationwide ex parte seizure
    develop strategic plans, including budgeting, specifically                                                          orders, and voluntary relinquishments.
    tailored to protect our clients’ rights in their valuable                                                           -   Maintaining    programs       which    address      infringement   by
    intellectual property.                                                                                              numerous individuals and companies                    throughout
                                                                                                                        the United States and worldwide.
                                                                                                                        -   Litigating against non-cooperative infringers.
                                                                                                                        -   Providing   training    and   working      with    law   enforcement
                                                                                                                        agencies such as the local police or U.S. Customs
                                                                                                                        to combat counterfeiting and piracy.
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    PRACTICE AREAS
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    Enforcement
    CONTINUED


    -   Working with law enforcement agencies and U.S. Customs
    to combat criminal infringement and illegal importation
    of infringing items.

    -   Protecting our clients’ rights with respect to venue owners
    where infringing and counterfeit products are sold.

    -   Employing and supervising investigators worldwide who
    uncover and report intellectual property
    infringements and who gather vital information
    necessary to combat this infringement.

    -   Obtaining voluntary relinquishment of infringing products.

    -   Maintaining a detailed database of infringers.

    -   Assisting our clients in developing public relations and
    advertising campaigns aimed at educating consumers
    re-garding intellectual property rights.

    -   Implementing hotlines for consumers to report intellectual
    property infringement.
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                           EXHIBIT “4”
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                                      2017 BILLING RATES

              Class Year                 Emerging Growth Rate   Standard Corporate Rate
   Associate Intern (Class of 2016)              $250                    $300
         2nd (Class of 2015)                     $350                    $400
         3rd (Class of 2014)                     $400                    $450
         4th (Class of 2013)                     $450                    $500
         5th (Class of 2012)                     $485                    $535
         6th (Class of 2011)                     $505                    $555
         7th (Class of 2010)                     $525                    $575
         8th (Class of 2009)                     $550                    $600
           Senior Counsel                        $575                    $625


            Tabs Billing Rate Code                     3            4
                             Attorney                  EG        Standard
          Akselrud, Greg (Partner)                       $650          $700
          Alderton, Scott (Partner)                      $650          $700
          Bagley, Adam (Senior Counsel 2008)             $575          $625
          Bergmann, Joshua (2013)                        $450          $500
          Carroll, Stephen (Paralegal)                   $250          $300
          Cherkassky, Caroline (Senior Counsel 2010)     $575          $625
          Cohen, Harris (Of Counsel)                     $475          $525
          Cory, Heather                                  $250          $300
          Correia, Gina (2015)                           $350          $400
          DeBré, Kevin (Partner)                         $650          $700
          Duckett, Ryan (2012)                           $485          $535
          Feldman, Nicholas (2014)                       $400          $450
          Friedman, Jonathan (Partner)                   $600          $650
          Galer, Scott (Partner)                         $650          $700
          Gatien, Konrad (Partner)                       $600          $650
          Gonzaque, Monique (Paralegal)                  $250          $300
          Gersh, Jeff (Partner)                          $600          $650
          Greaney, Sean (Partner)                        $600          $625
          Harris, David (Senior Counsel 2006)            $575          $625
          Hodes, Jonathan (Partner)                      $670          $720
          Kamelgard, Barak (2014)                        $400          $450
          Keats, Tony (Partner)                          $625          $675
          Kim, Grace (Associate Intern 2016)             $250          $300
          Laffey, Kelly (2013)                           $450          $500
          Markiles, Murray (Partner)                     $650          $700
          McIlvery, John (Partner)                       $650          $700
          Morigi, Christine (Paralegal)                  $250          $300
          Orme Mann, Darrell (Paralegal)                 $250          $275
          Sedivy, Jim                                    $495          $545
          Sherman, Michael (Partner)                     $625          $675
          Solomon, Tami (Paralegal)                      $225          $275
          Shaff, Mike (Of Counsel)                       $600          $650
          Stubbs, Joe (Partner)                          $670          $720
          Wharton, Louis (Partner)                       $600          $650
          Ziegler, Julie (Paralegal)                     $250          $300
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                                    PROOF OF SERVICE OF DOCUMENT
  1
      I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
  2   address is: 10250 Constellation Boulevard, Suite 1700, Los Angeles, CA 90067

  3   A true and correct copy of the foregoing document entitled FIRST INTERIM APPLICATION OF
      STUBBS, ALDERTON & MARKILES LLP FOR APPROVAL OF FEES AND REIMBURSEMENT OF
  4   EXPENSES; DECLARATION OF SCOTT ALDERTON, ESQ. will be served or was served (a) on the
      judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
  5   below:

  6   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
      controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
  7   hyperlink to the document. On November 21, 2017, I checked the CM/ECF docket for this bankruptcy
      case or adversary proceeding and determined that the following persons are on the Electronic Mail
  8   Notice List to receive NEF transmission at the email addresses stated below:

  9            Shiva D Beck sbeck@gardere.com, jcharrison@gardere.com
               Ron Bender rb@lnbyb.com
 10            Cathrine M Castaldi ccastaldi@brownrudnick.com
               Russell Clementson russell.clementson@usdoj.gov
 11            Aaron S Craig acraig@kslaw.com, lperry@kslaw.com
               Matthew A Gold courts@argopartners.net
 12            Monica Y Kim myk@lnbrb.com, myk@ecf.inforuptcy.com
               Jeffrey A Krieger jkrieger@ggfirm.com,
 13             kwoodson@greenbergglusker.com;calendar@greenbergglusker.com;jking@greenberggl
                usker.com
 14            Samuel R Maizel samuel.maizel@dentons.com,
                alicia.aguilar@dentons.com;docket.general.lit.LOS@dentons.com;tania.moyron@dentons
 15             .com;kathryn.howard@dentons.com
               Krikor J Meshefejian kjm@lnbrb.com
 16            Tania M Moyron tania.moyron@dentons.com, chris.omeara@dentons.com
               S Margaux Ross margaux.ross@usdoj.gov
 17            United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
               Sharon Z. Weiss sharon.weiss@bryancave.com, raul.morales@bryancave.com
 18
 19   2. SERVED BY UNITED STATES MAIL: On November 21, 2017, I served the following persons and/or
      entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true
      and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
 20   addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
      completed no later than 24 hours after the document is filed.
 21
 22                                                                           Service information continued on attached page
 23
      3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
 24   EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
      on November 21, 2017, I served the following persons and/or entities by personal delivery, overnight
 25   mail service, or (for those who consented in writing to such service method), by facsimile transmission
      and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or
 26   overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

 27
 28

       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
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  1   Served via Attorney Service
      Hon. Martin R. Barash
  2   United States Bankruptcy Court
      21041 Burbank Boulevard, Suite 342
  3   Woodland Hills, CA 91367

  4   I declare under penalty of perjury under the laws of the United States of America that the foregoing is
      true and correct.
  5
       November 21, 2017                    Stephanie Reichert                           /s/ Stephanie Reichert
  6    Date                                 Type Name                                    Signature

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       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
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Ironclad Performance Wear (8300)       Debtor                            United States Trustee
Debtor, OUST, Committees               ICPW Liquidation Corporation      915 Wilshire Blvd., Suite 1850
                                       15260 Ventura Blvd., 20th Floor   Los Angeles, California 90017
                                       Sherman Oaks, CA 91403




Creditors Committee:



Committee Counsel                      Resources Global Professionals    Winspeed Sports (Shanghai) Co., LTD
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